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                 EXHIBIT 18
                  (PART 1)
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                                                   Police Board
                                                  City of Chicago

                  Consent Decree Paragraph No. 535, Discovery in Police Board Disciplinary Cases

               Records Regarding Discovery for Three Disciplinary Cases Recently Filed with the Board


          Police Board Case No. 21 PB 2989, Tomescu
             • Charges filed: 4/06/2021
             • Initial status hearing: 4/26/2021 (see pp. 3-8 re production of CR file and
                  discovery)
             • Respondent's Motion for Discovery filed: 4/21/2021
             • Superintendent's Response to Motion for Discovery filed: 5/12/2021




          Police Board Case No. 21 PB 2990, Taylor and Lanier
             • Charges filed: 4/06/2021
             • Initial status hearing: 4/26/2021 (see pp. 4-8 re production of CR file and
                  discovery)
             • Respondent Taylor's Motion for Discovery filed: 4/21/2021
             • Respondent Lanier's Motion for Discovery filed: 4/26/2021
             • Superintendent's Response to Taylor's Motion for Discovery filed: 5/20/2021
             • Superintendent's Response to Lanier's Motion for Discovery filed: 5/20/2021




          Police Board Case No. 21 PB 2991, Bogard and Butler
             • Charges filed: 4/06/2021
             • Initial status hearing: 4/26/2021 (see pp. 5-7 re production of CR file and
                  discovery)
             • Superintendent's Notice of Production of CR File filed: 4/28/2021
             • Respondent Bogard's Motion for Discovery filed: 4/26/2021
             • Respondent Butler's Motion for Discovery filed: 4/12/2021
             • Superintendent's Response to Bogard's Motion for Discovery filed: 5/28/2021
             • Superintendent's Response to Butler's Motion for Discovery filed: 4/28/2021




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                            CHARGES AGAINST POLICE OFFICER LIVILIS TOMESCU

              Police Officer Livius Tomescu ("Officer Tomescu"), Star No. 19503,is charged with violating the
              following rules contained in Article V ofthe Rules and Regulations of the Chicago Police Depart-
              ment, which were in full force and effect on the date of the alleged violations:

                     Rule 1:        Violation of any law or ordinance.

                     Rule 2:        Any action or conduct which impedes the Department's efforts to
                                    achieve its policy and goals or brings discredit upon the Department.

                     Rule 3:        Any failure to promote the Department's efforts to implement its
                                    policy or accomplish its goals.

                     Rule 4:        Any conduct or action taken to use the official position for personal
                                    gain or influence.

                     Rule 6:        Disobedience of an order or directive, whether written or oral:

                     Rule 8:        Disrespect to or maltreatment of any person, while on or off duty:

                     Rule 14:       Making a false report, written or oral

                     Rule 41:      Disseminating, releasing, altering, defacing or removing any De-
                                   partment record or information concerning police matters except as
                                   provided by Department orders.

                                               S PECIFICATIONS

                   On one or more occasions, including on or about July 31, 2018, and/or August 7, 2018,
                   and/or September 27, 2018, Officer Tomescu accessed one or more documents in Chicago
                   Police Department ("CPD") Recruit Rafia Iqbal's ("Iqbal") CPD personnel and/or back-
                   ground investigation file, including Iqbal's Personal History Questionnaire and/or Kentech
                   Consulting, Inc. Background Investigative Report, without an official police purpose and/or
                   for personal purposes. Officer Tomescu thereby violated:

                    a.     Rule 2, which prohibits any action or conduct which impedes the Depart-
                           ment's efforts to achieve its policy and goals or brings discredit upon the
                           Department.

                    b.     Rule 4, which prohibits any conduct or action taken to use the official posi-
                           tion for personal gain or influence.

                   On one or more occasions, including on or about July 31, 2018, and/or August 7, 2018,
                   Officer Tomescu disseminated one or more documents from CPD Recruit Iqbal's CPD per-




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                sonnel and/or background investigation file, including Iqbal's Personal History Question-
                naire and/or Kentech Consulting, Inc. Background Investigative Report, by emailing said
                document(s)to Iqbal's personal email address without an official police purpose and/or for
                personal purposes. Officer Tomescu thereby violated:

                a.     Rule 2, which prohibits any action or conduct which impedes the Depart-
                       ment's efforts to achieve its policy and goals or brings discredit upon the
                       Department.

                b.     Rule 4, which prohibits any conduct or action taken to use the official posi-
                       tion for personal gain or influence.

                c.     Rule 6, which prohibits disobedience of an order or directive, whether writ-
                       ten or oral, when he violated section sections IV(A)(1), V(B)(1)(0, and/or
                       V(B)(2) of CPD General Order G09-01-03,"Use of the Internet" (eft'. Jan.
                       12, 2010) and/or section II(B) of CPD Special Order S09-05,"Department
                       Reports, Publications, Survey Responses and Official Statistics" (eff. Aug.
                       14, 2003).

                d.     Rule 41, which prohibits disseminating, releasing, altering, defacing or re-
                       moving any Department record or information concerning police matters ex-
                       cept as provided by Department orders.

                On one or more occasions, including on or about July 31,2018,and/or September 27, 2018,
                Officer Tomescu conducted one or more Law Enforcement Agencies Data System
               ("LEADS") inquiries of the name and/or personal information of Arqum Usmani ("Us-
                mani") without an official police purpose and/or for personal purposes. Officer Tomescu
                thereby violated:

                a.    Rule 1, which prohibits violation of any law or ordinance, when he violated
                      section 1240.80(a) of the Illinois Administrative Code,(20 III. Adm. Code
                      1240.80(a) (1999)), entitled "Dissemination of Data Obtained Through
                      LEADS."

                      Rule 2, which prohibits any action or conduct which impedes the Depart-
                      ment's efforts to achieve its policy and goals or brings discredit upon the
                      Department.

                c.    Rule 3, which prohibits any failure to promote the Department's efforts to
                      implement its policy or accomplish its goals.

                      Rule 4, which prohibits any conduct or action taken to use the official posi-
                      tion for personal gain or influence.

               e.     Rule 6, which prohibits disobedience of an order or directive, whether writ-
                      ten or oral, when he violated section VI(A)(2) of CPD General Order G09-



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                       01-01, "Access to Computerized Data, Dissemination and Retention of
                       Computer Data" (eff. Feb. 3, 2012) and/or sections IV(A)(1), V(B)(1)(e),
                       V(B)(1)(0, and/or V(B)(2) of CPD Order G09-01-03,"Use of the Internet"
                      (eff. Jan. 12, 2010).

                On or about August 23, 2018, Officer Tomescu conducted one or more LEADS inquiries
                on the name and/or personal information of CPD Recruit Iqbal without an official police
                purpose and/or for personal purposes. Officer Tomescu thereby violated:

                a.     Rule 1, which prohibits violation of any law or ordinance, when he violated
                       section 1240.80(a) of the Illinois Administrative Code,(20 Ill. Adm. Code
                       1240.80(a) (1999)), entitled "Dissemination of Data Obtained Through
                       LEADS."

                b.     Rule 2, which prohibits any action or conduct which impedes the Depart-
                       ment's efforts to achieve its policy and goals or brings discredit upon the
                       Department.

                c.     Rule 3, which prohibits any failure to promote the Department's efforts to
                       implement its policy or accomplish its goals.

                d.    Rule 4, which prohibits any conduct or action taken to use the official posi-
                      tion for personal gain or influence.

                e.    Rule 6, which prohibits disobedience of an order or directive, whether writ-
                      ten or oral, when he violated section VI(A)(2) of CPD General Order G09-
                      01-01, "Access to Computerized Data, Dissemination and Retention of
                      Computer Data" (eff. Feb. 3, 2012) and/or sections IV(A)(1), V(B)(1)(e),
                      V(B)(1)(f), and/or V(B)(2) of CPD General Order G09-01-03, "Use of the
                      Internet"(eff. Jan. 12, 2010).

          5    On or about September 27, 2018, Officer Tomescu contacted Usmani via telephone, iden-
               tified himself to Usmani as a CPD police officer, and asked Usmani questions about CPD
               Recruit Iqbal, all without an official police purpose and/or for personal purposes. Officer
               Tomescu thereby violated:

               a.     Rule 2, which prohibits any action or conduct which impedes the Depart-
                      ment's efforts to achieve its policy and goals or brings discredit upon the
                      Department.

               b.     Rule 3, which prohibits any failure to promote the Department's efforts to
                      implement its policy or accomplish its goals.

               c.     Rule 4, which prohibits any conduct or action taken to use the official posi-
                      tion for personal gain or influence.




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17-cv-06260                                                                                      MONITOR00237200
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                On or about October 1, 2018, Officer Tomescu left one or more voicemails for and/or made
                one or more telephone calls to CPD Recruit Burckel, during which Officer Tomescu iden-
                tified himself as a police officer in CPD-HRD and threatened to have Burckel expelled
                and/or terminated from CPD's training academy and/or demanded that Burckel apologize
                to CPD Recruit Iqbal in front of other CPD recruits. Officer Tomescu thereby violated:

                a.      Rule 2, which prohibits any action or conduct which impedes the Depart-
                        ment's efforts to achieve its policy and goals or brings discredit upon the
                        Department.

                b.     Rule 3, which prohibits any failure to promote the Department's efforts to
                       implement its policy or accomplish its goals.

                c.     Rule 4, which prohibits any conduct or action taken to use the official posi-
                       tion for personal gain or influence.

                d.     Rule 8, which prohibits disrespect to or maltreatment of any person, while
                       on or off duty.

               On or about October 1, 2018, and while speaking to CPD Recruit Colton Sodt ("Sodt") on
               the telephone, Officer Tomescu threatened to have Sodt expelled and/or terminated from
               CPD's training academy and/or demanded that Sodt apologize to CPD Recruit Iqbal in front
               of other CPD recruits. Officer Tomescu thereby violated:

                a.     Rule 2, which prohibits any action or conduct which impedes the Depart-
                       ment's efforts to achieve its policy and goals or brings discredit upon the
                       Department.

                b.     Rule 3, which prohibits any failure to promote the Department's efforts to
                       implement its policy or accomplish its goals.

                c.     Rule 8, which prohibits disrespect to or maltreatment of any person, while
                       on or off duty.

          8.   On or about October 8, 2018, Officer Tomescu sent CPD Recruit Iqbal one or more text
               messages in which Officer Tomescu made one or more threatening, harassing, and/or de-
               rogatory comments, including, but not limited, to threatening to tell CPD's Internal Affairs
               Division that Iqbal lied about her age on her employment application to CPD; stating,
               ly]ou thought you were going to throw me under the bus, I'm taking you with me!"; stat-
               ing,"[i]mmigration office will be my next stop after the IAD interview. That interview will
               also involve your sister and your brother"; and/or threatening to introduce himself to Iqbal's
               family without Iqbal's permission. Officer Tomescu thereby violated:

               a.      Rule 2, which prohibits any action or conduct which impedes the Depart-
                       ment's efforts to achieve its policy and goals or brings discredit upon the
                       Department.



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                  b.     Rule 3, which prohibits any failure to promote the Department's efforts to
                         implement its policy or accomplish its goals.

                  c.     Rule 8, which prohibits disrespect to or maltreatment of any person, while
                         on or off duty.

                 On or about October 8, 2018, Officer Tomescu used information he obtained while con-
                 ducting a background investigation of CPD Applicant Sohail Bhatti while Officer Tomescu
                 was assigned to CPD-HRD, namely, personal telephone number(s) and/or email ad-
                 dress(es), to contact Bhatti and/or his wife, Rabia Iqbal, via telephone and/or email for per-
                 sonal purposes. Officer Tomescu thereby violated:

                  a.    Rule 2, which prohibits any action or conduct which impedes the Depart-
                        ment's efforts to achieve its policy and goals or brings discredit upon the
                        Department.

                  b.    Rule 3, which prohibits any failure to promote the Department's efforts to
                        implement its policy or accomplish its goals.

                  c.    Rule 4, which prohibits any conduct or action taken to use the official posi-
                        tion for personal gain or influence.

          10.    On or about November 8, 2018, at or near 3510 South Michigan Avenue, Chicago, Illinois
                 and during an interview with CPD's Bureau of Internal Affairs ("CPD-BIA"), Officer
                 Tomescu falsely stated that he obtained CPD Recruit Burckel's phone number from CPD
                 Recruit Iqbal's cellular phone, or used words to that effect. Officer Tomescu thereby vio-
                 lated:

                 a.     Rule 2, which prohibits any action or conduct which impedes the Depart-
                        ment's efforts to achieve its policy and goals or brings discredit upon the
                        Department.

                 b.     Rule 14, which prohibits making a false report, written or oral.

          1 1,   On or about November 8, 2018, at or near 3510 South Michigan Avenue, Chicago, Illinois
                 and during an interview with CPD-BIA, Officer Tomescu falsely denied accessing CPD
                 Recruit Iqbal's CPD personnel and/or background investigation file, or used words to that
                 effect. Officer Tomescu thereby violated:

                 a      Rule 2, which prohibits any action or conduct which impedes the Depart-
                        ment's efforts to achieve its policy and goals or brings discredit upon the
                        Department.

                 b.     Rule 14, which prohibits making a false report, written or oral




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          Based on the foregoing charges and specifications, the Superintendent recommends that Police
          Officer Livius Tomescu, Star No. 19503, be discharged from the Chicago Police Department.



          DAVID 0. BROWN
          Superintendent of Police

          APPROVED AS TO FORM

          /S/ Johanna Tran
          Johanna Tran
          Assistant Corporation Counsel
          Labor Division


              FILED: April 06, 2021
              POLICE BOARD
              Case No.21 PB 2989




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17-cv-06260                                                                                  MONITOR00237203
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                                                    HEARING
                                                April 26, 2021


                                        BEFORE THE POLICE BOARD
                                         OF THE CITY OF CHICAGO



                    IN THE MATTER OF CHARGES                )
                    FILED AGAINST                           )   Case No. 21 PB 2989
                    P.O. LIVIUS TOMESCU                     )




                                REPORT OF PROCEEDINGS (Via teleconference)

                    had at the status in the above-entitled matter before

                    MS. APRIL PERRY, HEARING OFFICER, taken on April 26,

                    2021, at the hour of 10:40 o'clock a.m.

                                            *   *   *   *   *   *   *   *   *



                    REMOTE APPEARANCES:



                    MS. JOHANNA TRAN,
                    (Via teleconference),
                    MS. MARIA VUOLO-MILAN,
                    (Via teleconference),

                                   on behalf of the Superintendent;

                    MR. JAMES McKAY,
                    (Via teleconference),

                                   on behalf of Respondent Tomescu;

                    POLICE BOARD OF THE CITY OF CHICAGO
                    MR. MAX CAPRONI, Executive Director,
                    (Via teleconference.)




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17-cv-06260                                                                          MONITOR00237204
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                                                  HEARING
                                              April 26, 2021


         1                HEARING OFFICER PERRY:          The next case up is

          2         Police Board Case Number 21 PB 2989 regarding the

         3          charges against Respondent Officer Livius Tomescu.

          4         That's, L-i-v-i-u-s; Tomescu, Tomescu.                         This is

         5          April Perry, the Hearing Officer assigned to the

         6          case, and we're proceeding via conference call due to

          7         the pandemic.

         8                       Counsels for the Superintendant, could you

          9         please introduce yourselves spelling your name for

        10          the court reporter.

        11                MS. TRAN:      Good morning.       This is Johanna Tran,

        12          T-r-a-n, on behalf of the Superintendent.

        13                MS. VUOLO-MILAN:        Good morning.        This is Maria

        14          Vuolo-Milan, V-u-o-1-o, dash, M-i-l-a-n, also on

        15          behalf of the Superintendent.

        16                HEARING OFFICER PERRY:          Counsel for the

        17          Respondent?

        18                MR. McKAY:      Good morning, your Honor.            This is

        19          James McKay, M-c-K-a-y.           I'm appearing on behalf of

        20          Officer Livius Tomescu.

        21                HEARING OFFICER PERRY:          Thank you, Mr. McKay.           Is

        22          Officer Tomescu present on the line?

        23                MR. McKAY:      I don't believe so, your Honor.

        24          Actually I advised him I would handle it for him.                     I



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17-cv-06260                                                                          MONITOR00237205
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         1          could get him if need be.

          2               HEARING OFFICER PERRY:          No, certainly fine for

         3          him not to appear, we just like to know if we can for

          4         the record whether or not they appear.

         5                       I want to thank you, Mr. McKay, for filing

         6          your appearance on behalf of Officer Tomescu at least

          7         two days prior to the hearing in accordance with the

         8          rules.     And I see I think, Mr. McKay, the Respondent

          9         was personally served the charges on April 8th, is

        10          that right?

        11                MR. McKAY:      I believe so, yes, Judge.

        12                HEARING OFFICER PERRY:          Thank you.       And you also

        13          filed a motion for discovery, so thank you for filing

        14          that.

        15                MR. McKAY:      You're welcome.

        16                HEARING OFFICER PERRY:          Counsel for the

        17          Superintendant, have you tendered the CR file to

        18          Counsel for Respondent or do you have it available to

        19          tender?

        20                MS. TRAN:      This is Johanna Iran.          The CR file is

        21          currently being redacted.            There are some things that

        22          I'm going to try to work through I think with

        23          Mr. McKay, but it should be ready for tendering by

        24          the end of the week.



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17-cv-06260                                                                          MONITOR00237206
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         1                HEARING OFFICER PERRY:          All right.       If you could

          2         please work with Mr. McKay on that and get it

         3          tendered by Friday, that would be great.                  And thank

          4         you for filing yours online with the Board already.

         5                       Ms. Iran, how long do you need to respond to

         6          Respondent's motion for discovery?

          7               MS. TRAN:      If I could, can I have a little bit

         8          longer just because I do have a hearing this week,

          9         and then I do have another motion next week, if I can

        10          have maybe until May 12th, some time like that?

        11                HEARING OFFICER PERRY:          All right.       May 12th to

        12          respond to the motion for discovery is fine.

        13                MS. IRAN:      Thank you.

        14                HEARING OFFICER PERRY:          And let's go ahead and

        15          set the status for about a week after that so that

        16          everyone can review what's been tendered and come

        17          with any other issues that next week.                How does May

        18          18th sound for the next status?

        19                MR. McKAY:      Judge, this is Jim McKay.            A couple

        20          things.      I have no objection if Johanna needs more

        21          time to tender the complete CR file, but I would ask

        22          this; if we by agreement can enter a protective

        23          order, I would ask that the records be tendered

        24          whenever she can and have these records tendered in



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17-cv-06260                                                                          MONITOR00237207
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         1          an unredacted form.

          2                      The protective order in place would protect

         3          anybody named in these reports from dissemination to

          4         third parties, so I would just ask for protective

         5          order and ask that these reports be unredacted, and

         6          I'm certainly agreeable in allowing Johanna to do

          7         this in plenty of time, certainly past May 12th.

         8                HEARING OFFICER PERRY:            Well, she was actually

          9         looking I think to tender the CR investigative file

        10          to you by Friday, that's what I heard, is that right?

        11                MR. McKAY:      Yes, but what I'm asking for, your

        12          Honor, is unredacted reports.              Joanna indicated she

        13          wants to redact them.           I ask that we don't do that,

        14          we just enter an agreed protective order, which makes

        15          that point moot.

        16                HEARING OFFICER PERRY:            What types of material

        17          are you planning to redact out, Ms. Tran?

        18                MS. IRAN:      Thank you, so at this time -- I'm just

        19          going off the list now if I could just have one

        20          second.

        21                       At this time, regarding redactions would be

        22          social security numbers, employee numbers, driver's

        23          license numbers, driver's license numbers, license

        24          plate numbers, financial information and medical



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17-cv-06260                                                                          MONITOR00237208
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         1          records.

          2                      The reason that I was hoping to speak with

         3          Mr. McKay regarding the redactions is because we have

          4         to address this issue on a few other cases that

         5          Mr. McKay and I are working on.

         6                       The Superintendant's position is that we are

          7         in agreement with tendering unredacted some

         8          information, but the information that I just

          9         indicated, we are planning to continue to redact that

        10          information as there's no purpose or use that

        11          Mr. McKay can make for it.

        12                       There are various documents that I've cited

        13          to previously regarding why the Superintendent takes

        14          that position regarding the CR files, so that's the

        15          information that we're currently seeking to redact.

        16                HEARING OFFICER PERRY:            Mr. McKay, do you have a

        17          problem with social security numbers being redacted?

        18                MR. McKAY:      Social, maybe not.         The only reason,

        19          the only reason, your Honor, that I need unredacted

        20          reports is to locate or my investigator locate these

        21          witnesses so we can interview them before the

        22          hearing, that's it.

        23                       A protective order makes all of this moot

        24          because it bars myself, my investigator, Johanna and



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         1          her staff from disseminating this information to

          2         third parties.

         3                       And more importantly, the Supreme Court

          4         Rules that are in place regarding information that is

         5          private only applies to filings, so you know, as far

         6          as discovery, it is to be kept by the parties and the

          7         parties keep it private, but there's to be no filings

         8          which can be made a matter of public record that

          9         would include this personal contact information.                    So

        10          that's the only reason.

        11                       A social security number may be necessary to

        12          locate a witness.         If there's addresses and phone

        13          numbers, then maybe not, but it's just hard to say at

        14          this point since this is the first time up and I

        15          don't know yet how many witnesses, if any, we need to

        16          interview before the hearing.

        17                HEARING OFFICER PERRY:            Well, I believe

        18          Ms. Iran's original suggestion was that you and she

        19          talk off line and see what you can agree on and what

        20          you can't.       Why don't we let you have some time to do

        21          that.     I suspect there's going to be common ground

        22          here that you'll be able to reach.

        23                       If you find that you have not gotten the

        24          information that you need, we can certainly revisit



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         1          it when we talk next.

          2               MR. McKAY:      Sounds good, fair enough.            Thank you.

         3                HEARING OFFICER PERRY:          How about May 12th for

          4         the date by which anyone can file any additional

         5          discovery motions.          If we still have problems

         6          proceeding, Ms. Iran will plan to get you everything

          7         b y Friday, which gives you two weeks to review it and

         8          work out with her any problems that may still exist.

          9         And then a status on May 17th -- I'm sorry, May 18th

        10          at 10:00 a.m.

        11                       Is there anything else we'd like to work out

        12          today?

        13                MR. McKAY:      How about an agreed protective order?

        14                MS. IRAN:      I have no objection to a protective

        15          order, Jim.       I can draft one.

        16                MR. McKAY:      Thanks, Johanna.

        17                MS. TRAN:      No problem.

        18                       I did want to advise you, Madam Hearing

        19          Officer, I do have a hearing on May 18th, so what

        20          time is the status going to be?

        21                HEARING OFFICER PERRY:          Well, what time do you

        22          want it to be?

        23                MS. IRAN:      My hearing starts at 11:00 a.m., so if

        24          we can do it before then.



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         1                HEARING OFFICER PERRY:          10:00 a.m. would be

          2         great.

         3                MS. TRAN:      Thank you.

          4               HEARING OFFICER PERRY:          All right.       Just a couple

         5          of housekeeping matters before we conclude.                   I'd like

         6          to note for the record that Mr. Caproni has sent both

          7         parties the Report of Review of Suspension of

         8          Respondent accompanied by the filing of charges as

          9         well as the reports of Respondent's complimentary and

        10          disciplinary history that were generated just prior

        11          to charges in this case were filed.

        12                       I assume because you are both repeat players

        13          here that you are familiar with Appendix A to the

        14          Rules of Procedure and how you can get the complete

        15          disciplinary files for Officer Tomescu if you want

        16          it, so I would encourage you to work together on that

        17          as well.

        18                       I'm sure you both know, if you want to use

        19          experts, it's better to start getting those in line

        20          sooner rather than later since our cases tend to move

        21          very quickly, so if anyone does want an expert,

        22          please start working on that now.

        23                       Max, did I get everything I was supposed to

        24          get here?



                            U.S. Legal Support 1       www.uslegalsupport.com                   9



17-cv-06260                                                                          MON ITOR00237212
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 18 of 80 PageID #:16078
                                                  HEARING
                                              April 26, 2021


         1                MR. CAPRONI:       I believe you did, yes.           Thank you.

          2               HEARING OFFICER PERRY:          Anything else from

         3          Counsels for Superintendent?

          4               MS. TRAN:      Not from Johanna.         I'm not sure if my

         5          partner, Maria, has anything to add.

         6                MS. VUOLO-MILAN:        This is Maria.        Nothing from my

          7         end either.       Thank you.

         8                HEARING OFFICER PERRY:          Thank you both.

          9                      Counsel for Respondent?

        10                MR. McKAY:      Nothing on behalf of Officer Tomescu.

        11                HEARING OFFICER PERRY:          All right.       And I will be

        12          happy to review any protective orders that you all

        13          agree on, and anytime you want to submit those is

        14          fine.     Thanks to everyone.

        15                MS. TRAN:      Thank you so much.         Have a good day

        16          everyone.

        17                MR. McKAY:      Thank you, have a nice day.

        18                       (WHICH WERE ALL THE PROCEEDINGS HAD.)

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                            U.S. Legal Support 1       www.uslegalsupport.com                   10



17-cv-06260                                                                          MON ITOR00237213
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 19 of 80 PageID #:16079
                                                  HEARING
                                              April 26, 2021


         1          STATE OF ILLINOIS
                                                     SS:
          2         COUNTY OFWILL

         3

          4                        I, NANCY DECOLA EATINGER, a Certified

         5          Shorthand Reporter, do hereby certify:

         6                         That said proceedings were taken remotely

          7         before me at the time and places therein set forth

         8          and were taken down by me in shorthand and thereafter

          9         transcribed into typewriting;

        10                         I further certify that I am neither

        11          counsel for, nor related to, any party to said

        12          proceedings and not in any way interested in the

        13          outcome thereof.

        14                         In witness whereof, I have hereunto

        15          subscribed my name.

        16        A iDf
                     i ted:    Aril 28, 2021

        17      -7/1/awf ah/y4
        18
                    Nancy DeCola Eatinger
        19          CSR No. 084-003451

        20

        21

        22

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                            U.S. Legal Support 1       www.uslegalsupport.com                   11



17-cv-06260                                                                          MON ITOR00237214
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 20 of 80 PageID #:16080



                                 THE POLICE BOARD OF THE CITY OF CHICAGO


              IN THE MATTER OF CHARGES
              AGAINST

              OFFICER LIVIUS TOMESCU,Star # 19503                   CASE NO. 21 PB 2989

                                    Respondent.


                                                   NOTICE OF FILING

              To: Max Caproni,                            Johanna Tran
                  Executive Director, Police Board        City of Chicago Law Department
                  max.capro nirckitvo Ichica2,o.orp,      johanna.tran@cityofchicago.org
                  iazmvne.rollins'a.citvolchicago.org




                    PLEASE TAKE NOTICE that on April 21,2021 at 10:15am at 2 North LaSalle St.,
              Suite M800,Chicago,II 60602,I filed before the Police Board ofthe City of Chicago the
              attached pleadings on behalfofthe Respondent, a copy of which is served upon you:

              Appearance
              Motion for Discovery




                                                            James P. McKay, Jr.



                                              CERTIFICATE OF SERVICE

                   I hereby certify that on April 21, 2021,I electronically served this Notice and the attached
              Respondent's pleading mentioned above to the above parties via their respective email addresses.



                                                              James P. McKay, Jr.




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17-cv-06260                                                                                           MONITOR00237215
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 21 of 80 PageID #:16081




           James P. McKay, Jr.
           Of Counsel
           Tomasik Kotin Kasserman
           161 North Clark Street, Suite 3050
           Chicago, II 60601
          (312)605-8800 - office
          (312)605-8808 — fax
          (312)835-8052 - cell
             pmckay aw Qmai 1 com
           j i nvaltkkla w.com




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17-cv-06260                                                                          MON ITOR00237216
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 22 of 80 PageID #:16082



                                     THE POLICE BOARD OF THE CITY OF CHICAGO




              IN THE MATTER OF CHARGES
              AGAINST

              OFFICER LIVIUS TOMESCU, Star #19503                        Case No. 21 PB 2989

                                 Respondent


                                                         APPEARANCE


              To: Max Caproni, Executive Director of the Chicago Police Board
                  max.caproni@cityof chicago.org
                  jazymyne.rollins@cityofchicago.org

                 Johanna Tran, City of Chicago Law Department
                 johanna.tran@cityofchicago.org


                    The undersigned attorney does hereby enter his appearance on behalf of the Respondent, Officer
              Livius Tomescu in the above captioned matter, this 21'' day of April 2021.




                                                                  /x/ James P. McKay, Jr.

                                                                   James P. McKay, Jr.
                                                                   Attorney for Officer Livius Tomescu


          James P. McKay, Jr.
          Of Counsel
          Tomasik Kotin Kasserman
          161 North Clark Street
          Suite 3050
          Chicago, II 60601
          Office (312)605-8800
          Facsimile(312)605-8808
          Cell(312)835-8052
          jpmckavlaw@gmail.com
          jimatkklaw.com




17-cv-06260                                                                                                 MONITOR00237217
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 23 of 80 PageID #:16083



                                     THE POLICE BOARD OF THE CITY OF CHICAGO


              IN THE MATTER OF CHARGES
              AGAINST

              OFFICER LIVIUS TOMESCU                                    CASE NO. 21 PB 2989

                                Respondent


                                                  MOTION FOR DISCOVERY


                 NOW COMES the Respondent, Officer Livius Tomescu, by and through his attorney, James P.
              McKay, Jr., and moves this Honorable Police Board to order the City of Chicago, Department of Law and
              any appointed Assistant Corporation Counsel, to disclose and produce the following items of discovery,
              including but not limited to:

                  1. Any and all written statements made by the Respondent concerning the charges filed, which are
                     within the custody and control of the Chicago Police Department, the Bureau of Internal Affairs,
                     the Civilian Office of Police Accountability, the Independent Police Review Authority and the
                     Corporation Counsel's Office.

                 2. Any and all oral statements made by the Respondent concerning the charges filed which have
                    been reduced to writing or summaries of which have been reduced to writing which are within the
                    custody and control of the Chicago Police Department, the Bureau of Internal Affairs, the
                    Civilian Office of Police Accountability, the Independent Police Review Authority and the
                    Corporation Counsel's Office.

                 3. Any and all oral statements of the Respondent concerning the charges filed which have been in
                    any way mechanically recorded and which are within the custody and control of the Chicago
                    Police Department, the Bureau of Internal Affairs, the Civilian Office of Police Accountability,
                    the Independent Police Review Authority and the Corporation Counsel's Office.

                 4. Any and all recorded statements, written statements or written summaries of oral statements of
                    any witness to be produced by the City and the Superintendent in the prosecution's case-in chief
                    at the hearing of said charges, including but not limited to statements of Rafia Iqbal, Mark
                    Burckel, Colton Sodt, Sohail Bhatti, and Arqum Usmani.

                 5. Results or reports of physical or mental examinations and medical examinations of any witness in
                    this case, including any toxicology reports, and reports of scientific tests, experiments and
                    forensic computer searches made in connection with this particular case which are within the
                    custody and control of the Chicago Police Department, the Bureau of Internal Affairs, the
                    Civilian Office of Police Accountability, the Independent Police Review Authority and the
                    Corporation Counsel's Office and the identity and reports of any expert witnesses or treaters the
                    City, the Superintendent and the prosecution plans on calling at the hearing.

                 6. Any evidence within the custody or control ofthe Chicago Police Department,the Bureau of
                    Internal Affairs, the Civilian Office of Police Accountability, the Independent Police Review

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17-cv-06260                                                                                                  MONITOR00237218
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 24 of 80 PageID #:16084



                  Authority and the Corporation Counsel's Office which is favorable to the Respondent in terms of
                  guilt or innocence to the charges filed against the Respondent, including but not limited to:


                  a) Any and all unredacted written documentation, notes, memos, affidavits, emails and text
                     messages for any communication between the Bureau of Internal Affairs, the Civilian Office
                     of Police Accountability, the City of Chicago, Department of Law and the Superintendent of
                     Police and his counsel regarding Officer Livius Tomescu and other individuals in this case
                     from September 1, 2018 to the present;

                  b) A complete set of the unredacted Chicago Police reports and any other agency's unredacted
                     reports listed under Log #s 1091232 and 1091329;

                  c) Any and all video recordings, audio recordings, and unredacted computer searches, emails
                     and text messages recovered or utilized in this case;

                  d) A complete copy of Officer Livius Tomescu's personnel file and a list of all awards,
                     accommodations, etc. he earned with the Chicago Police Department.

                  e) All unredacted CPD disciplinary records, complaints, criminal histories and/or reports of
                     Rafia lqbal, Mark Burckel, Colton Sodt and Sohail Bhatti;

                 0 All unredacted documentation from 18 OP 77815;

                  g) All unredacted cell phone records, including text messages of Officer Livius Tomescu, Rafia
                     Iqbal and any other witness in this case.


              7. A list of witnesses the City,the Superintendent and the Department of Law may call at the
                 hearing, their unredacted last known addresses, phone numbers, other identifying relevant
                 information including any criminal history they may have and whether there are any cases
                 pending against any of the witnesses.

              8. A complete copy of the reports listed under Log Number 1091232 and 1091329 including any
                 findings made regarding said Log Numbers.

              9. Any and all recordings, photographs or video tapes, and exhibits which the City, the
                 Superintendent and the prosecution have in their possession, whether they plan on introducing
                 them into evidence at the hearing or not.

              10. Any and all police reports, GPRs, notes, memorandum, inventory reports, search warrants and
                  documents prepared by Sgt. Emmet Welch or anyone else in this case, including but not limited
                  to the Chicago Police Department's Bureau of Internal Affairs.




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17-cv-06260                                                                                              MONITOR00237219
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 25 of 80 PageID #:16085



              WHEREFORE,the Respondent respectfully requests this Honorable Police Board to enter an Order
              requiring the City of Chicago, Department of Law and any appointed Assistant Corporation Counsel to
              disclose and tender all of the above discovery requests at the earliest reasonable time possible.




                                                                 Respectfully submitted,


                                                                 /x/ James P. McKay, Jr.

                                                                 James P. McKay, Jr.
                                                                 Attorney for the Respondent
                                                                 Officer Livius Tomescu




              James P. McKay, Jr.
              Of Counsel, Tomasik Kotin Kasserman
               161 North Clark Street
              Suite 3050
              Chicago, II 60601
              Office:(312)605-8800
              Facsimile:(312)605-8808
              Cell:(312)835-8052
              ibmckaylaw@gmail.com
              jimAtkklaw.com




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17-cv-06260                                                                                               MON ITOR00237220
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 26 of 80 PageID #:16086




                                         BEFORE THE POLICE BOARD
                                                    OF
                                           THE CITY OF CHICAGO

          IN THE MATTER OF CHARGES
          AGAINST

          OFFICER LIVIUS TOMESCU,                                      No. 21 PB 2989

          Respondent.


          To:    James P. McKay Jr.(jpmckaylaw@gmail.com)
                 Of Counsel
                 Tomasik Kotin Kasserman
                 161 N. Clark Street, Suite 3050
                 Chicago,IL 60601


                                                NOTICE OF FILING

                 PLEASE TAKE NOTICE that on May 12, 2021, T caused to be filed electronically with
          the Police Board of the City of Chicago the attached Superintendent's Answer to Discovery.

                 Dated at Chicago, Illinois, this 12th day of May, 2021.



                                                                       /S/ Johanna Tran
                                                                       Assistant Corporation Counsel

                                          CERTIFICATE OF SERVICE

                  1, Johanna Tran, hereby certify that on May 12, 2021, T electronically served copies of both
          this Notice and the Superintendent's Answer to Discovery on the person identified above via
          email.

                                                                       /S/ Johanna Tran
                                                                       Assistant Corporation Counsel
                                                                       Johanna.Tran@Cityofchicago.org

          Celia Mem
          Acting Corporation Counsel of the City of Chicago
          2 North LaSalle Street
          Suite 660
          Chicago, Illinois 60602
          312-742-7034




17-cv-06260                                                                                          MONITOR00237221
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 27 of 80 PageID #:16087




                                         BEFORE THE POLICE BOARD
                                                    OF
                                           THE CITY OF CHICAGO

          IN THE MATTER OF CHARGES
          AGAINST

          OFFICER LIVIUS TOMESCU,                                     No. 21 PB 2989

          Respondent.


                               SUPERINTENDENT'S ANSWER TO DISCOVERY

                  NOW COMES the Superintendent of Police of the City of Chicago, David 0. Brown, by

          his attorney, Celia Meza, Acting Corporation Counsel of the City of Chicago, and responds as

          follows to Respondent Tomescu's Motion for Discovery.

              1. Any and all written statements made by the Respondent concerning the charges filed, which
                 are within the custody and control ofthe Chicago Police Department, the Bureau of Internal
                 Affairs, the Civilian Office of Police Accountability, the Tndependent Police Review
                 Authority and the Corporation Counsel's Office.

                 Response: The Superintendent objects to this request to the extent that it seeks material
                 that is beyond the discovery provisions of the Police Board Rules of Procedure. Without
                 waiving any objections, see the CR file tendered by the Superintendent for any material that
                 might be responsive to this request.

              2. Any and all oral statements made by the Respondent concerning the charges filed, which
                 have been reduced to writing or summaries of which have been reduced to writing which
                 are within the custody and control ofthe Chicago Police Department, the Bureau ofInternal
                 Affairs, the Civilian Office of Police Accountability, the Tndependent Police Review
                 Authority and the Corporation Counsel's Office.

                 Response: The Superintendent objects to this request to the extent that it requests material
                 that is beyond the discovery provisions of the Police Board Rules of Procedure. Without
                 waiving any objections, see the CR file tendered by the Superintendent for any material that
                 might be responsive to this request.

              3. Any and all oral statements of the Respondent concerning the charges filed which




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17-cv-06260                                                                                         MONITOR00237222
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 28 of 80 PageID #:16088




                 have been in any way mechanically recorded and which are within the custody and control
                 of the Chicago Police Department, the Bureau of Internal Affairs, the Civilian Office of
                 Police Accountability, the Independent Police Review Authority and the Corporation
                 Counsel's Office.

                 Response: The Superintendent objects to this request to the extent that it requests material
                 that is beyond the discovery provisions of the Police Board Rules of Procedure. Without
                 waiving any objections, see the CR file tendered by the Superintendent for any material that
                 might be responsive to this request.

              4. Any and all recorded statements, written statements or written summaries of oral statements
                 of any witness to be produced by the City and the Superintendent in the prosecution's case-
                 in-chief at the hearing ofsaid charges,including but not limited to statements ofRafia Iqbal,
                 Mark Burckel, Colton Sodt, Sohail Bhatti, and Arqum Usmani.

                 Response: The Superintendent objects to this request to the extent that it requests material
                 that is beyond the discovery provisions of the Police Board Rules of Procedure. Without
                 waiving any objections, see the CR file tendered by the Superintendent for any material that
                 might be responsive to this request.

              5. Results or reports of physical or mental examinations, medical examinations of any witness
                 in this case, including any toxicology reports, and reports of scientific tests, experiments
                 and forensic computer searches made in connection with this particular case which are
                 within the custody and control of the Chicago Police Department, the Bureau of Internal
                 Affairs, the Civilian Office of Police Accountability, the Independent Police Review
                 Authority and the Corporation Counsel's Office and the identity and reports of any expert
                 witnesses or treaters the City, the Superintendent and the prosecution plans on calling at the
                 hearing.

                 Response: The Superintendent objects to this request to the extent that it requests material
                 that is beyond the discovery provisions of the Police Board Rules of Procedure. Without
                 waiving any objections, see the CR file tendered by the Superintendent for any material that
                 might be responsive to this request. The Superintendent will tender the identity and reports
                 of any expert witnesses or treaters pursuant to the time period set forth in the relevant
                 provisions of the Police Board Rules of Procedure.

              6. Any evidence within the custody or control of the Chicago Police Department, the Bureau
                 of Internal Affairs, the Civilian Office of Police Accountability, the Independent Police
                 Review Authority and the Corporation Counsel's Office which is favorable to the
                 Respondent in terms of guilt or innocence to the charges filed against the Respondent,
                 including but not limited to:

                 Response: The Superintendent objects to this request to the extent that it requests material
                 that is beyond the discovery provisions of the Police Board Rules of Procedure. The
                 Superintendent further objects to the phrase "favorable to the Respondent in terms of guilt
                 or innocence" as vague, ambiguous and subject to multiple interpretations. Furthermore,




17-cv-06260                                                                                           MONITOR00237223
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 29 of 80 PageID #:16089




                the Superintendent objects to this request as overly broad, and burdensome. Without
                waiving any objections, see the CR file tendered by the Superintendent for any material that
                might be responsive to this request.

              a) Any and all unredacted written documentation, notes, memos, affidavits, emails and text
                 messages for any communication between the Bureau of Internal Affairs, the Civilian
                 Office of Police Accountability, the City of Chicago, Department of Law and the
                 Superintendent of Police and his counsel regarding Officer Livius Tomescu and other
                 individuals in this case from September 1, 2018 to the present;

                 Response: The Superintendent objects to this request as beyond the discovery provisions
                 of the Police Board Rules of Procedure, vague, overly broad, and burdensome.
                 Additionally, it requests documents that are protected by the deliberative process privilege,
                 attorney-client privilege or work-product doctrine.

              b) A complete set of the Chicago Police reports and any other agency's unredacted reports
                 listed under Log #s 1091232 and 1091329;

                 Response: See the CR file already tendered. Additionally, the Superintendent has
                 tendered CR file 1091329.

              c) Any and all video recordings, audio recordings, and unredacted computer searches, emails
                 and text messages recovered or utilized in this case;

                 Response: See the CR file already tendered. The investigation continues.

              d) A complete copy of Officer Livius Tomescu's personnel file and a list of all awards,
                 accommodations, etc. he earned with the Chicago Police Department.

                 Response: A copy of Respondent's personnel file has been requested by the
                 Superintendent and will be tendered upon receipt. Additionally, on information and belief,
                 a copy of Respondent's complimentary and disciplinary history will be provided to all
                 parties by the Police Board.

              e) All unredacted CPD disciplinary records, complaints, criminal histories and/or reports of
                 Rafia Tqbal, Mark Burckel, Colton Sodt and Sohail Bhatti;

                 Response: The Superintendent objects to this request as it seeks material that is beyond
                 the discovery provisions of the Police Board Rules of Procedure and irrelevant to the
                 present matter. Furthermore, Respondent does not articulate any permissible purpose for
                 his request of Rafia Tqbal's, Mark Burckel's, Colton Sodt's or Sohail Bhatti's disciplinary
                 records.

              f) All unredacted documentation from 18 OP 77815;

                 Response: The Superintendent objects to this request as it seeks material that is beyond


                                                          3



17-cv-06260                                                                                          MONITOR00237224
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 30 of 80 PageID #:16090




                  the discovery provisions ofthe Police Board Rules ofProcedure and is not limited to items
                  within the care custody or control of the Civilian Office of Police Accountability, the
                  Independent Police Review Authority and/or the Chicago Police Department.
                  Furthermore, Respondent has the same access to the Clerk of the Circuit Court to obtain
                  documentation related to 18 OP 77815.

              g) All unredacted cell phone records, including text messages of Officer Livius Tomescu,
                 Rafia Tqbal and any other witness in this case

                  Response: The Superintendent objects to this request as it seeks material that is beyond
                  the discovery provisions of the Police Board Rules of Procedure. Without waiving any
                  objections, see the CR file.

              7. A list of witnesses the City, the Superintendent and the Department of Law may call at the
                 hearing, their unredacted last known addresses, phone numbers, other identifying relevant
                 information including any criminal history they may have and whether there are any cases
                 pending against any of the witnesses.

                 Response: The Superintendent objects to this request as beyond the discovery provisions
                 of the Police Board Rules of Procedure. The Superintendent will produce a witness list
                 pursuant to the Police Board Rules of Procedure at the pre-hearing conference.

              8. A complete copy of the reports listed under Log Number 1091232 and 1091329 including
                 any findings made regarding said Log Numbers.

                 Response: The Superintendent objects to this request as vague, ambiguous and subject to
                 multiple interpretations. Additionally, Respondent's request is not in such detail as to
                 sufficiently apprise the Superintendent as to which "reports" and "findings" are being
                 requested. Without waiving any objects, see the CR file and the newly tendered CR file
                 1091329.

              9. Any and all recordings, photographs or video tapes, and exhibits which the City, the
                 Superintendent and the prosecution have in their possession, whether they plan on
                 introducing them into evidence at the hearing or not.

                 Response: The Superintendent objects to this request as beyond the discovery provisions
                 of the Police Board Rules of Procedure, vague, overly broad, and burdensome. Without
                 waiving any objections, see the CR file.

              1 0. Any and all police reports, GPRs, notes, memorandum, inventory reports, search warrants
                   and documents prepared by Sgt. Emmet Welch or anyone else in this case, including but not
                   limited to the Chicago Police Department's Bureau ofInternal Affairs.

                 Response: The Superintendent objects to this request to the extent that it seeks material
                 beyond the discovery provisions of the Police Board Rules of Procedure and not within the
                 custody or control of the Chicago Police Department. The Superintendent further objects



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17-cv-06260                                                                                        MONITOR00237225
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 31 of 80 PageID #:16091




               to this request as vague, overly broad and burdensome. Additionally, the Superintendent
               further objects to this request to the extent that it seeks documents that are protected by
               deliberative process privilege, attorney-client privilege, or work-product doctrine. Without
               waiving any objections, see the CR file.

               The investigation continues.

                                                             Respectfully submitted,

                                                             Celia Mem
                                                             Acting Corporation Counsel

                                                     By:     /s/ Johanna Tran
                                                             Assistant Corporation Counsel



        City of Chicago, Department of Law
        Labor Division
        2 N. LaSalle St., Ste. 660
        Chicago, TL 60602




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17-cv-06260                                                                                       MONITOR00237226
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 32 of 80 PageID #:16092


                             CHARGES AGAINST POLICE OFFICER DAVID TAYLOR

                 Police Officer David Taylor, Star Number 18525, is charged with violating the following
         rules contained in Article V ofthe Rules and Regulations ofthe Chicago Police Department(the
         "Department"), which were in full force and effect on the date(s) of the alleged violations:

                  Rule 2:        Any action or conduct which impedes the Department's efforts to achieve
                                 its policy and goals or brings discredit upon the Department

                  Rule 6:        Disobedience of an order or directive, whether written or oral

                  Rule 10:       Inattention to duty

                  Rule 11:       Incompetency or inefficiency in the performance of duty

                  Rule 38:       Unlawful or unnecessary use or display of a weapon

              1. On or about July 3, 2018, at approximately 8:04 p.m., at or near 4730 W. Fulton Street,
                 Chicago, Illinois, Police Officer David Taylor used deadly force that was not necessary to
                 prevent death or great bodily harm from an imminent threat posed to Officer Taylor or
                 another person, and was not necessary to prevent an arrest from being defeated where the
                 person to be arrested posed an imminent threat of death or great bodily harm to Officer
                 Taylor or another person unless arrested without delay, when he fired one or more shots at
                 Terrell Eason, thereby violating

                     a. Rule 2(any action or conduct which impedes the Department's efforts to achieve
                        its policy and goals or brings discredit upon the Department)

                     b. Rule 6(disobedience of a direct order, whether oral or written)(General Order
                        03-02---Use of Force); and

                     c. Rule 38(Unlawful or unnecessary use or display ofa weapon).

              2. On or about July 3, 2018, at approximately 8:04 p.m., at or near 4730 W. Fulton Street,
                 Chicago, Illinois, Police Officer David Taylor fired one or more shots in the direction of
                 Terrell Eason, without justification, thereby violating

                     a. Rule 2(any action or conduct which impedes the Department's efforts to achieve
                        its policy and goals or brings discredit upon the Department)

                     b. Rule 10(inattention to duty);

                     c. Rule 11 (incompetency or inefficiency in the performance of a duty); and

                     d. Rule 38(Unlawful or unnecessary use or display of a weapon).




         ACTIVE 56188782v1




17-cv-06260                                                                                        MONITOR00237227
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 33 of 80 PageID #:16093


                3. On or about July 3, 2018, at approximately 8:04 p.m., at or near 4730 W. Fulton Street,
                   Chicago, Illinois, while responding to an incident documented under RD #JB334215,
                   Police Office David Taylor failed to activate his body worn camera in a timely manner,
                   thereby violating

                       a. Rule 2(any action or conduct which impedes the Department's efforts to achieve
                          its policy and goals or brings discredit upon the Department)

                       b. Rule 6(disobedience of a direct order, whether oral or written)(Special Order
                          S03-14--Body Worn Cameras); and

                       c. Rule 10(Inattention to duty).

                 Based on the foregoing charges and specifications, the Superintendent recommends that
          Officer David Taylor, Star Number 18525, be separated from the Chicago Police Department.



              FILED: April 06, 2021
              POLICE BOARD
              Case No. 21 PB 2990-1




         ACTIVE 56188782v1




17-cv-06260                                                                                       MONITOR00237228
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 34 of 80 PageID #:16094


                             CHARGES AGAINST POLICE OFFICER LARRY LANIER

                  Police Officer Larry Lanier, Star Number 16195, is charged with violating the following
          rules contained in Article V of the Rules and Regulations of the Chicago Police Department (the
          "Department"), which were in full force and effect on the date(s) of the alleged violations:

                  Rule 2:        Any action or conduct which impedes the Department's efforts to achieve
                                 its policy and goals or brings discredit upon the Department

                  Rule 6:        Disobedience of an order or directive, whether written or oral

                  Rule 10:       Inattention to duty

                  Rule 11:       Incompetency or inefficiency in the performance of duty

                  Rule 38:       Unlawfully or unnecessarily using or displaying a weapon

               1. On or about July 3, 2018, at approximately 8:04 p.m., at or near 4730 W. Fulton Street,
                  Chicago, Illinois, Police Officer Larry Lanier used deadly force that was not necessary to
                  prevent death or great bodily harm from an imminent threat posed to Officer Lanier or
                  another person, and was not necessary to prevent an arrest from being defeated where the
                  person to be arrested posed an imminent threat of death or great bodily harm to Officer
                  Lanier or another person unless arrested without delay, when he fired one or more shots at
                  Terrell Eason, thereby violating

                     a. Rule 2(any action or conduct which impedes the Department's efforts to achieve
                        its policy and goals or brings discredit upon the Department);

                     b. Rule 6(disobedience of a direct order, whether oral or written)(General Order 03-
                        02—Use of Force); and

                     c. Rule 38(Unlawful or unnecessary use or display of a weapon).

              2. On or about July 3, 2018, at approximately 8:04 p.m., at or near 4730 W. Fulton Street,
                 Chicago, Illinois, Police Officer Larry Lanier fired one or more shots in the direction of
                 Terrell Eason, without justification, thereby violating

                     a. Rule 2(any action or conduct which impedes the Department's efforts to achieve
                        its policy and goals or brings discredit upon the Department)

                     b. Rule 10(inattention to duty);

                     c. Rule 11 (incompetency or inefficiency in the performance of a duty); and

                     d. Rule 38(Unlawful or unnecessary use or display of a weapon).




         ACTIVE 56188782v1




17-cv-06260                                                                                        MONITOR00237229
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 35 of 80 PageID #:16095


                3. On or about July 3, 2018, at approximately 8:04 p.m., while responding to an incident
                   documented under RD #JB334215, Police Office Larry Lanier failed to activate his body
                   worn camera in a timely manner, thereby violating

                       a. Rule 2(any action or conduct which impedes the Department's efforts to achieve
                          its policy and goals or brings discredit upon the Department);

                       b. Rule 6(disobedience of a direct order, whether oral or written)(Special Order
                          S03-14—Body Worn Cameras); and

                       c. Rule 10(Inattention to duty).

                 Based on the foregoing charges and specifications, the Superintendent recommends that
          Officer Larry Lanier, Star Number 16195, be separated from the Chicago Police Department.




          DAVID BROWN
          Superintendent ofPolice

          APPROVED AS TO FORM

                    Ao i


          ELIZABETH S. RALPH
          JULIA D. RIEDEL EMFINGER
          CHRISTINE DULANEY
          Special Assistant Corporation Counsel



              FILED: April 06, 2021
              POLICE BOARD
              Case No. 21 PB 2990-2




          ACTIVE 56188782v1




17-cv-06260                                                                                       MONITOR00237230
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 36 of 80 PageID #:16096
                                                       HEARING
                                                   April 26, 2021


                                   BEFORE THE POLICE BOARD
                                    OF THE CITY OF CHICAGO



               IN THE MATTER OF CHARGES
               FILED AGAINST
               P.O. DAVID TAYLOR                           Case No.        21 PB 2990-1
               P.O. LARRY LANIER                           Case No.        21 PB 2990-2



                           REPORT OF PROCEEDINGS (Via teleconference)

               had at the status in the above-entitled matter before

               MS. LAUREN FREEMAN, HEARING OFFICER, taken on April

               26, 2021, at the hour of 10:13 o'clock a.m.

                                       *   *   *   *   *   *   *   *   *



               REMOTE APPEARANCES:

               MS. ELIZABETH M. RALPH,
               (Via teleconference),
               MS. JULIA RIEDEL EMFINGER
               (Via teleconference),

                              on behalf of the Superintendent;

               MR. JAMES McKAY,
               (Via teleconference),

                              on behalf of Respondent Taylor;

               MR. JAMES THOMPSON,
               (Via teleconference),

                              on behalf of Respondent Lanier;

               POLICE BOARD OF THE CITY OF CHICAGO
               MR. MAX CAPRONI, Executive Director,
               (Via teleconference.)




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17-cv-06260                                                                               MONITOR00237231
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 37 of 80 PageID #:16097
                                                  HEARING
                                              April 26, 2021


         1          HEARING OFFICER FREEMAN:            This is Police Board

          2    Case Number 21 PB 2990, Case 1 and 2 regarding the

         3     charges against Respondent Officer David Taylor and

          4    Larry Lanier, and Lanier is spelled, L-a-n-i-e-r.

         5                 I'm Lauren Freeman, the Hearing Officer

         6     assigned to this case, and we're proceeding via

          7    conference call due to the ongoing COVID-19 pandemic.

         8                 Counsel for the Superintendent, can you

          9    please introduce yourself and spell your name for the

        10     court reporter followed by Counsel for Respondent

        11     Taylor and then Counsel for Respondent Lanier?

        12          MS. RALPH:       Good morning.       This is Elizabeth

        13     Ralph from Greenberg Traurig on behalf of the

        14     Superintendent.        Last name is, R-a-1-p-h.

        15          MS. EMFINGER:        Good morning.       This is Julia

        16     Emfinger also from Greenberg Traurig on behalf of the

        17     Superintendent.        Last name is E, as in echo; m, as in

        18     Mary; f, as in Frank, i-n-g-e-r.

        19          MR. McKAY:       Good morning, your Honor.            This is

        20     James McKay.       Last name is, M-c-K-a-y.           I'm appearing

        21     on behalf of Officer David Taylor.

        22          HEARING OFFICER FREEMAN:            Mr. Thompson?       Counsel

        23     for Respondent Taylor?

        24          MR. THOMPSON:        Sorry, good morning.          Was I cut



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17-cv-06260                                                                          MONITOR00237232
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 38 of 80 PageID #:16098
                                                  HEARING
                                              April 26, 2021


         1     off?

          2           HEARING OFFICER FREEMAN:          Yeah.    Can you please

         3     introduce yourself and spell your name for the court

          4    reporter?

         5            MR. THOMPSON:      Sure.    James Thompson,

         6     T hompson, Counsel on behalf of Officer Larry

          7    Lanier.

         8            HEARING OFFICER FREEMAN:          Thank you, very much.

          9    And Mr. Thompson, have you filed an appearance on

        10     behalf of --

        11            MR. THOMPSON:      I have not -- I'm sorry, go ahead.

        12            HEARING OFFICER FREEMAN:          On behalf of your

        13     client?

        14            MR. THOMPSON:      This is Jim Thompson.          I was

        15     informed this morning we have not, so we will file

        16     that immediately after the conference call.

        17            HEARING OFFICER FREEMAN:          Okay, thank you.

        18                 And Mr. McKay, you filed your appearance on

        19     behalf of Officer Taylor, and that was two or more

        20     days prior to today's date in accordance with the

        21     Board rules, correct?

        22            MR. McKAY:     Yes, Judge.      I filed it on April 21st

        23     along with my motion for discovery.

        24            HEARING OFFICER FREEMAN:          And Counsels for



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17-cv-06260                                                                          MONITOR00237233
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                                                  HEARING
                                              April 26, 2021


         1     Officer Lanier and Officer Taylor, your clients were

          2    personally served with the charges as indicated on

         3     their notice on April 8th, which was five or more

          4    days prior to this initial status, correct,

         5     Mr. McKay?

         6          MR. McKAY:       Yes, Judge.

          7         HEARING OFFICER FREEMAN:            And Mr. Thompson?

         8          MR. THOMPSON:        Yes, Judge.

          9         HEARING OFFICER FREEMAN:            Okay.    So Mr. Thompson,

        10     if you could file your appearance in the next couple

        11     of days, today would be great.             The Board rules

        12     actually say that you have to have an appearance on

        13     file to represent your client, so we're going to

        14     continue with this, but just make sure that your

        15     appearance is filed by -- before Thursday, okay?

        16          MR. THOMPSON:        Sure, we'll get it on file today.

        17          HEARING OFFICER FREEMAN:            Okay, thank you.

        18                 And Counsel for the Superintendant, have you

        19     tendered the CR files to either Counsel or do you

        20     have it available for them?

        21          MS. RALPH:       Yes, this is Elizabeth Ralph.             We

        22     have not tendered the CR file yet.               We are going to

        23     be seeking entry of an agreed protective order prior

        24     to producing the CR file so that we can designate



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17-cv-06260                                                                          MONITOR00237234
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 40 of 80 PageID #:16100
                                                  HEARING
                                              April 26, 2021


         1     certain documents.

          2                Mr. McKay has already signed off on that

         3     agreed protective order, and I just sent it to

          4    Mr. Thompson during this call, so once we get that

         5     squared away, we're prepared to produce the CR files

         6     right away.

          7         HEARING OFFICER FREEMAN:            Okay, great.       So if you

         8     could produce those files by Thursday.                I'm assuming

          9    Mr. Thompson will file his appearance by then.

        10          MR. THOMPSON:        I'm sorry to hold everybody up.              I

        11     will have that on file today and execute the

        12     protective order.

        13          HEARING OFFICER FREEMAN:            That's okay, no

        14     problem.

        15                 And then Counsel for Respondent Taylor,

        16     Mr. McKay, you indicated that you filed your motion

        17     for discovery, correct?

        18          MR. McKAY:       Yes, that is correct.

        19          HEARING OFFICER FREEMAN:            Thank you.

        20                 And Mr. Thompson, when you file your

        21     appearance, you are going to file your motion for

        22     discovery also, is that correct?

        23          MR. THOMPSON:        That's correct, we'll do that

        24     simultaneously.



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17-cv-06260                                                                          MONITOR00237235
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         1          HEARING OFFICER FREEMAN:            Okay.    So I'm going to

          2    give the Superintendent about three weeks to respond

         3     to your motions for discovery, so that would be April

          4    20th, and then I'm going to --

         5          MR. THOMPSON:        I think you mean May 20th.

         6          HEARING OFFICER FREEMAN:            Sorry, May 20th.        And

          7    then I'm going to give the Respondents about a week

         8     after that so they can review any additional

          9    materials that the Superintendent tenders in response

        10     to those motions that are in addition to the CR file.

        11                 So let's set this case for status about a

        12     week after that and meet up again on May 27th.

        13                 Is that a good date for you -- at 10:00 a.m.

        14     Is that a good date and time for you, Ms. Ralph and

        15     Ms. Emfinger?

        16          MS. EMFINGER:        Yes, that works for me.

        17          MS. RALPH:       Let me look at -- that works for me

        18     as well.

        19          HEARING OFFICER FREEMAN:            Okay.    How about you,

        20     Mr. McKay?

        21          MR. McKAY:       Your Honor, if it's by phone, yes.

        22     If it's in person or by Zoom, no.               I'll be in a

        23     courtroom at 9:00 a.m. up in Lake County, but I

        24     should be finished by 10:00.             I can certainly call in



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17-cv-06260                                                                           MONITOR00237236
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                                                  HEARING
                                              April 26, 2021


         1     at 10:00 o'clock.

          2         HEARING OFFICER FREEMAN:            Yeah, it's by phone.

         3          MR. McKAY:       Okay.

          4         HEARING OFFICER FREEMAN:            And how is that for

         5     you, Mr. Thompson?

         6          MR. THOMPSON:        That's good, Judge.

          7         HEARING OFFICER FREEMAN:            Is that all right,

         8     Mr. Caproni?

          9         MR. CAPRONI:       Yes.

        10          HEARING OFFICER FREEMAN:            Is that date and time

        11     okay?

        12          MR. CAPRONI:       Yes, Thursday, May 27th at 10:00

        13     a.m. is fine.

        14          HEARING OFFICER FREEMAN:            Okay.    Mr. Thompson and

        15     Mr. McKay, if you determine that you'll be seeking

        16     any further discovery beyond what was initially

        17     tendered in the CR file, I'm going to ask you to

        18     please file your supplemental motions for discovery a

        19     day or two before that day, so let's say by April

        20     25th -- no, April 26th, and on the next status

        21     hearing --

        22          MR. THOMPSON:        You mean May?

        23          HEARING OFFICER FREEMAN:            I'm sorry, gosh, I keep

        24     doing that.



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17-cv-06260                                                                          MONITOR00237237
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                                                  HEARING
                                              April 26, 2021


         1                 So for the next status hearing, Mr. McKay

          2    and Mr. Thompson, you should be in a position to

         3     indicate whether you're voiding any additional

          4    discovery or whether you filed a supplemental motion

         5     or whether we're in a position to schedule this case

         6     for hearing and prehearing conference.

          7                And also by the next status date I would

         8     like it if you could reach out to your witnesses to

          9    find out what their availability will be in July and

        10     August for hearing.

        11                 In addition, Mr. Caproni has sent all of the

        12     parties reports of the Respondents' complimentary and

        13     disciplinary histories that were generated just

        14     before the charges in this case were filed.                  There

        15     have been no prior Police Board cases against either

        16     Respondent that the Board is aware of.

        17                 Also, as set forth in the new amendments to

        18     the Police Board rules in Appendix A, the Corporation

        19     Counsel shall be given access to the Respondent's

        20     complete disciplinary file upon written request to

        21     the Superintendant, and each Respondent shall be

        22     given access to his own disciplinary file if

        23     requested in writing.

        24                 I'd also like to caution you, the



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17-cv-06260                                                                          MONITOR00237238
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                                              April 26, 2021


         1     Respondents and Counsel for the Superintendent, that

          2    if any of you decide that you may want to use experts

         3     in this case, I suggest that you begin the process of

          4    retaining them as soon as possible because these

         5     cases move a lot faster than civil or criminal cases,

         6     and you'll need to disclose them in advance of the

          7    prehearing conference.

         8                 So is that all understood, Ms. Ralph and

          9    Ms. Emfinger?

        10          MS. RALPH:       Yes, understood, Ms. Freeman.

        11          HEARING OFFICER FREEMAN:            Mr. McKay on behalf of

        12     Respondent Taylor?

        13          MR. McKAY:       Yes, it's understood, and further I

        14     would initially disclose that I will be seeking an

        15     expert, so I will have them identified well before

        16     May 26th.

        17          HEARING OFFICER FREEMAN:            Excellent, thank you.

        18                 And Mr. Thompson, understood?

        19          MR. THOMPSON:        Understood.

        20          HEARING OFFICER FREEMAN:            And is there anything

        21     further we need to address right now, Counsel for the

        22     Superintendent?

        23          MS. RALPH:       Not on behalf of the Superintendent.

        24          HEARING OFFICER FREEMAN:            Mr. McKay?



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17-cv-06260                                                                          MONITOR00237239
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                                                  HEARING
                                              April 26, 2021


         1          MR. McKAY:       Not on behalf of Officer David

          2    Taylor.

         3          HEARING OFFICER FREEMAN:            And Mr. Thompson?

          4         MR. THOMPSON:        Nothing from Officer Lanier.

         5          HEARING OFFICER FREEMAN:            All right, great.

         6     Thank you.

          7                So that concludes our business on this case

         8     today, so I will be speaking with you all again on

          9    the 27th at 10:00 a.m.           Thank you, very much.

        10     Everybody please stay healthy.

        11                (WHICH WERE ALL THE PROCEEDINGS HAD.)

        12

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17-cv-06260                                                                          MONITOR00237240
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 46 of 80 PageID #:16106
                                                  HEARING
                                              April 26, 2021


         1     STATE OF ILLINOIS
                                                SS:
          2    COUNTY OFWILL

         3

          4                   I, NANCY DECOLA EATINGER, a Certified

         5     Shorthand Reporter, do hereby certify:

         6                    That said proceedings were taken remotely

          7    before me at the time and places therein set forth

         8     and were taken down by me in shorthand and thereafter

          9    transcribed into typewriting;

        10                    I further certify that I am neither

        11     counsel for, nor related to, any party to said

        12     proceedings and not in any way interested in the

        13     outcome thereof.

        14                    In witness whereof, I have hereunto

        15     subscribed my name.

        16     Date44:
                    ir April(128, 2021
        17         iitaikeq
        18
               Nancy DeCola Eatinger
        19     CSR No. 084-003451

        20

        21

        22

        23

        24



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17-cv-06260                                                                          MONITOR00237241
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                                  THE POLICE BOARD OF THE CITY OF CHICAGO


               IN THE MATTER OF CHARGES
               AGAINST

               OFFICER DAVID TAYLOR,Star # 18525                     CASE NO. 21 PB 2990-1

                                     Respondent.


                                                    NOTICE OF FILING

               To: Max Caproni,
                   Executive Director, Police Board
                   max.cam°nifikitvofchicaao.om
                   iazmync.rollins itvolchicago.org




                     PLEASE TAKE NOTICE that on April 21,2021 at 10:15am at 2 North LaSalle St.,
               Suite M800, Chicago,Ii 60602,I filed before the Police Board of the City of Chicago the
               attached pleadings on behalf ofthe Respondent, a copy of which is served upon you:

               Appearance
               Motion for Discovery




                                                                             4144"
                                                                                 ,
                                                             James P. McKay, Jr.



                                               CERTIFICATE OF SERVICE

                    I hereby certify that on April 21, 2021,I electronically served this Notice and the attached
               Respondent's pleading mentioned above to the above parties via their respective email addresses.



                                                              James P. McKay, Jr.




                                                              1




1 7-cv-06260                                                                                           MONITOR00237242
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 48 of 80 PageID #:16108




            James P. McKay, Jr.
            Of Counsel
            Tomasik Kotin Kasserman
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           (312)835-8052 - cell
           jp plckay 1awa;ma I.com
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1 7-cv-06260                                                                         M0N1T0R00237243
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                                    THE POLICE BOARD OF THE CITY OF CHICAGO




              IN THE MATTER OF CHARGES
              AGAINST

              OFFICER DAVID TAYLOR, Star # 18525,                       Case No. 21 PB 2990-1

                                 Respondent


                                                         APPEARANCE


              To: Max Caproni, Executive Director of the Chicago Police Board
                  max.caproni citvofchicago.org
                  jazymynesollins@,cityofchicago.org




                   The undersigned attorney does hereby enter his appearance on behalf of the Respondent, Officer
              David Taylor in the above captioned matter, this 21" day of April 2021.




                                                                 /xJ James P. McKay, Jr.

                                                                  James P. McKay, Jr.
                                                                  Attorney for Officer David Taylor


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              Of Counsel
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17-cv-06260                                                                                                MONITOR00237244
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 50 of 80 PageID #:16110



                                     THE POLICE BOARD OF THE CITY OF CHICAGO


              IN THE MATTER OF CHARGES
              AGAINST

              OFFICER DAVID TAYLOR, Star # 18525                         CASE NO. 21 PB 2990 - 1

                                 Respondent


                                                  MOTION FOR DISCOVERY


                  NOW COMES the Respondent, Officer David Taylor, by and through his attorney, James P. McKay,
              Jr., and moves this Honorable Police Board to order the City of Chicago, Department of Law and the
              appointed Special Assistant Corporation Counsel, if any, to disclose and produce the following items of
              discovery, including but not limited to:

                  1. Any and all written statements made by the Respondent concerning the charges filed, which are
                     within the custody and control of the Chicago Police Department, the Bureau of Internal Affairs,
                     the Civilian Office of Police Accountability (formerly I.P.R.A.), the Cook County State's
                     Attorney's Office, the Corporation Counsel's Office and Special Assistant Corporation Counsel,
                     if any.

                 2. Any and all oral statements made by the Respondent concerning the charges filed which have
                    been reduced to writing or summaries of which have been reduced to writing which are within the
                    custody and control of the Chicago Police Department, the Bureau of Internal Affairs, the
                    Civilian Office of Police Accountability (formerly I.P.R.A.), the Cook County State's Attorney's
                    Office, the Corporation Counsel's Office and Special Assistant Corporation Counsel, if any.

                 3. Any and all oral statements of the Respondent concerning the charges filed which have been in
                    any way mechanically recorded and which are within the custody and control of the Chicago
                    Police Department, the Bureau of Internal Affairs, the Civilian Office of Police Accountability
                   (formerly I.P.R.A.), the Cook County State's Attorney's Office, the Corporation Counsel's
                    Office and Special Assistant Corporation Counsel, if any.

                 4. Any and all recorded statements, written statements or written summaries of oral statements of
                    any witness to be produced by the City and the Superintendent in the prosecution's case-in chief
                    at the hearing of said charges and any other persons unknown to Respondent at this time that
                    were interviewed by any investigators or prosecutors in this case.

                 5. Results or reports of physical or mental examinations or medical examinations of Terrell Eason
                    including any toxicology reports, and reports of scientific tests or experiments made in
                    connection with this particular case which are within the custody and control of the Chicago
                    Police Department, the Bureau of Internal Affairs, the Civilian Office of Police Accountability
                   (formerly I.P.R.A.), the Cook County State's Attorney's Office, the Corporation Counsel's Office
                    and Special Assistant Corporation Counsel, if any, and the identity and reports of any expert
                    witnesses on a police officer's use offorce, or treaters the City, the Superintendent and the
                    prosecution plans on calling at the hearing.


                                                                 1




17-cv-06260                                                                                                  MONITOR00237245
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              6. Any evidence within the custody or control of the Chicago Police Department, the Bureau of
                 Internal Affairs, the Civilian Office of Police Accountability (formerly I.P.R.A.), the Cook
                 County State's Attorney's Office, the Corporation Counsel's Office and Special Assistant
                 Corporation Counsel, if any, which is favorable to the Respondent in terms of guilt or innocence
                 to the charges filed against the Respondent, including but not limited to:


                  a) Any and all unredacted written documentation, notes, memos,affidavits, emails and text
                     messages, by any witness present for any communication between the Civilian Office of
                     Police Accountability (formerly I.P.R.A.), the Cook County State's Attorney's Office, the
                     City of Chicago, Department of Law and the Superintendent of Police regarding Officer
                     David Taylor, Officer Larry Lanier and other individuals in this case from July 3, 2018 to the
                     present.

                  b) A complete set of the unredacted Chicago Police reports listed under RD# JB334215.

                  c) Any and all affidavits, declination to prosecute reports, video recordings of all body worn
                     cameras and dash cameras from the date of the incident, and all video recordings from cell
                     phones and surveillance cameras from the date of the incident.

                  d) A complete copy of Officer David Taylor's personnel file with the Chicago Police
                     Department.

                  e) The complete unredacted criminal history of Terrell Eason, including his juvenile history, and
                     all Lynch material pursuant to People v. Lynch, 104 Ill. 2d 194, 470 N.E. 2d 1018, 83111. Dec.
                     598(1984).

                  0 Any and all offers of leniency to any witness in this case, any benefit extended to any witness
                    in this case, and any agreements between any agency in this case and any witness in exchange
                    for their cooperation and/or testimony in this case.


              7. A list of witnesses the City and the Department of Police may call at the hearing, their unredacted
                 last known addresses, phone numbers, other identifying relevant information including any
                 criminal history they may have and whether there are any cases pending against any of the
                 witnesses.

              8. A copy of the unredacted complaint register file(s), if any, and files listed under Log# 1090087
                 that pertain to this case.

              9. All documents, pleadings and discovery, including but not limited to deposition transcripts from
                 1:18-cv-05362.

              10. Any and all recordings, photographs or video tapes, and exhibits which the City, the
                  Superintendent and the prosecution have in their possession, whether they plan on introducing
                  them into evidence at the hearing or not.

              1 1. Any and all police reports, GPRs, notes, memorandum, inventory reports, search warrants and
                   documents prepared by any and all agencies in this case, including but not limited to the Chicago

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17-cv-06260                                                                                               MONITOR00237246
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                      Police Department, the Bureau of Internal Affairs, the Civilian Office of Police Accountability
                     (formerly I.P.R.A.), the Cook County State's Attorney's Office, the Corporation Counsel's Office
                      and Special Assistant Corporation Counsel, if any.


              WHEREFORE,the Respondent respectfully requests this Honorable Police Board to enter an Order
              requiring the City of Chicago, Department of Law and the appointed Special Assistant Corporation
              Counsel, if any, to disclose and tender all of the above discovery requests at the earliest reasonable time
              possible.



                                                                     Respectfully submitted,


                                                                     /x/ James P. McKay, Jr.

                                                                     James P. McKay, Jr.
                                                                     Attorney for the Respondent
                                                                     Officer David Taylor




              James P. McKay, Jr.
              Of Counsel, Tomasik Kotin Kasserman
               161 North Clark Street
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              Cell:(312)835-8052
              jpmckaylaw@gmail.com
              iim@tkklaw.coin




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17-cv-06260                                                                                                      MONITOR00237247
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                                                  BEFORE
                                             THE POLICE BOARD
                                          OF THE CITY OF CHICAGO

          In the Matter of Charges Against

          POLICE OFFICER LARRY LANIER and,                            Case No.: 21 PB 2990
          DAVID TAYLOR,

                         Respondent.

                                   DISCOVERY PRODUCTION REQUESTS

                 NOW COMES, the Respondent, OFFICER LARRY LANIER, by and through his

          attorneys, GRACE & THOMPSON,and propounds the following Discovery Production Requests

          to the Superintendent of the City of Chicago:

                 I.      Any and all written statements made by the Respondent concerning the charges

          filed, which are within the custody and control of the Department of Police or any independent

          investigating agency that conducted the Complaint Register investigation pertaining to the charges

          filed against the Respondent, including but not limited to the Civilian Office of Police

          Accountability, the Office of the Inspector General, etc.

          Response:

                 2.      Any and all oral statements made by the Respondent concerning the charges filed

          which have been reduced to writing or summaries of which have been reduced to writing which

          are witin the custody and control of the Department of Police or any independent investigating

          agency.

          Response:

                 3.      Any and all oral statements of the Respondent concerning the charges filed which

          have been in any way mechanically recorded and which are within the custody and control of the

          Department of Police or any independent investigating agency.



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17-cv-06260                                                                                        MONITOR00237248
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          Response:

                 4.       Any and all written statements, recorded statements in their native format,

          transcripts of statements including but not limited to deposition transcripts and trial transcripts, or

          written summaries of statements made by Respondent, any and all witnesses, or persons purporting

          to be witnesses concerning the charges filed and/or the events giving rise thereto within the custody

          and control of the Department of Police, Civilian Office of Police Accountability, Independent

          Police Review Authority or any other known division or department of the City of Chicago. For

          any requested statement known by the Superintendent of Police to exist but which is not within

          the custody or control of any ofthe aforementioned entities please provide the contact information

          for the person(s) or entity(s) believed to be in custody and control of said statements.

          Response:

                 5.      Results and reports of physical and/or mental examinations, scientific tests,

          reconstructions or experiments made in connection with the particular case at issue which are

          within the custody and control of the Department of Police, Civilian Office of Police

          Accountability, Independent Police Review Authority or any other known division or department

          of the City of Chicago. For any requested document known by the Superintendent of Police to

          exist but which is not within the custody or control of any of the aforementioned entities please

          provide the contact information for the person(s) or entity(s) believed to be in custody and control

          of said documents.

          Response:

                 6.       Any and all evidence including but not limited to expert opinion within the custody

          or control of the Department of Police, Civilian Office of Police Accountability, Independent

          Police Review Authority or any other known division or department ofthe City of Chicago which




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17-cv-06260                                                                                             MONITOR00237249
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          is favorable to the Respondent in terms of guilt or innocence to the charges filed against the

          Respondent.

          Response:

                 7.      A true and complete copy of the complaint register and/or log file created and

          maintained by the Chicago Police Department regarding this investigation.

          Response:

                 8.      Any and all documents, photographs, videos, reports, emails, correspondence,

          diagrams or other depictions regardless ofform which depict or otherwise purport to illustrate the

          scene of the occurrence giving rise to the charges against Respondent or the parties or witnesses

          involved within the custody or control of the Department of Police, Civilian Office of Police

          Accountability, Independent Police Review Authority or any other known division or department

          of the City of Chicago. For any requested document known by the Superintendent of Police to

          exist but which is not within the custody or control of any of the aforementioned entities please

          provide the contact information for the person(s) or entity(s) believed to be in custody and control

          of said documents.

          Response:

                 9.      A true and complete copy of Respondent Officer Larry Lanier's complete

          disciplinary file and complimentary and disciplinary history file maintained by the Chicago Police

          Department.

          Response:

                  1 0.   A copy of any and all Chicago Police Department orders or Illinois Statutes

          intended to be used during the hearing in this matter.

          Response:




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17-cv-06260                                                                                          MONITOR00237250
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 56 of 80 PageID #:16116




                 11.     A list of witnesses and the subject matter of their testimony, the conclusions and

          opinions of each witness and the qualifications of each witness.

          Response:

                  1 2.   Any and all news media, social media or other related reports relating to the charges

          against Respondent or the underlying occurrence giving rise to the charges filed against the

          Respondent within the custody or control of the Department of Police, Civilian Office of Police

          Accountability, Independent Police Review Authority or any other known division or department

          of the City of Chicago. For any requested document known by the Superintendent of Police to

          exist but which is not within the custody or control of any of the aforementioned entities please

          provide the contact information for the person(s) or entity(s) believed to be in custody and control

          of said documents.

          Response:

                  1 3.   A complete list of all agencies known to have conducted some form ofinvestigation

          relating to the charges alleged together with all documents produced or exchanged relating the

          occurrence giving rise to the charges and all correspondence within the possession and control of

          the Department of Police, the City of Chicago and all associated entities. Please be advised this

          request includes but is not limited to the Independent Police Review Authority, Civilian Office of

          Police Accountability, Department of Police, Office of the Cook County State's Attorney, Cook

          County Medical Examiner,Illinois State Police Crime Lab and/or Forensic Section, and the Illinois

          State's Attorneys Appellate Prosecutor's Office.

          Response:

                  1 4.   Based upon reasonable information and belief an investigation was conducted by

          the Office of the Cook County State's Attorney and at the request of Cook County State's




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17-cv-06260                                                                                          MON ITOR00237251
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          Attorney Kim Foxx, the Illinois State's Attorneys Appellate Prosecutor's Office in which both

          found the Respondent's use of force justified. Please provide any and all documents, including

          but not limited to correspondence, memorandums, notes reduced to writing, audio, video or

          photographs exchanged, provided and/or otherwise disclosed regarding the above-mentioned

          investigation together with all contact information relative to said investigations.

          Response:


                                                                Respectfully Submitted,


                                                                /s/ Robert Ryan Arroyo
                                                                Attorneysfbr Respondent, Larry Lanier




          Timothy M. Grace (connorgrace@aol.corn)
          James E. Thompson (jthompson@ggtlegal.com)
          Robert Ryan Arroyo (robarroyo@ggtlegal.com)
          GRACE & THOMPSON
          311 W. Superior St., Ste. 215
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          P: (312)943-0600
          F: (312)943-7133




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17-cv-06260                                                                                       MONITOR00237252
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 58 of 80 PageID #:16118




                                          CERTIFICATE OF SERVICE

                  1, the undersigned attorney, hereby certify that on this 26th day of April 2021, I caused
          copies of this CERTIFICATE OF SERVICE and accompanying PRODUCTION
          REQUESTS TO THE SUPERINTENDENT FROM RESPONDENT LARRY LANIER to
          be sent to the above listed parties at their listed addresses via electronic mail:

          Jazmyne Rollins (via email jazmyne.rollins@cityofchicago.org)
          Chicago Police Board
          2 North LaSalle St., M800
          Chicago, TL 60602

          Special Assistant Corporation Counsels
          Elizabeth S. Ralph (via email ralphe@gtlaw.com)
          Julia D. Riedel Emfinger (via email emfingerj@gtlaw.com)
          Christine Dulaney (via email dulaneyc@gtlaw.com)
          GreenbergTraurig
          77 W. Wacker Dr., Ste. 3100
          Chicago, TL 60601


          Date: April 26, 2021                         Signed: /s/ Robert Ryan Arroyo
                                                       Attorneysfbr Respondent, Larry Lanier




          Attorneys for Respondent Larry Lanier
          Timothy M. Grace (connorgrace@aol.corn)
          James E. Thompson (jthompson@ggtlegal.com)
          Robert Ryan Arroyo (robarroyo@ggtlegal.com)
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17-cv-06260                                                                                         MONITOR00237253
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 59 of 80 PageID #:16119




                               BEFORE THE POLICE BOARD OF
                                  THE CITY OF CHICAGO
          IN THE MATTER OF               )
          CHARGES AGAINST                )
                                         )         Case No. 21 PB 2990
          OFFICER DAVID TAYLOR and       )
          OFFICE LARRY LANIER,           )
                    Respondents.         )

              SUPERINTENDENT'S RESPONSE TO RESPONDENT DAVID TAYLOR'S MOTION
                                      FOR DISCOVERY

                  David Brown, Superintendent of the Chicago Police Department, by his attorney Celia

          Meza, Acting Corporation Counsel for the City of Chicago, and for his Responses and Objections

          to Respondent David Taylor's Motion for Discovery, states as follows:

               1. Any and all written statements made by the Respondent concerning the charges tiled,
                  which are within the custody and control of the Chicago Police Department, the
                  Bureau of Internal Affairs, the Civilian Office of Police Accountability (formerly
                  I.P.R.A.), the Cook County State's Attorney's Office, the Corporation Counsel's
                  Office and Special Assistant Corporation Counsel,if any.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving these objections, the Superintendent states that all responsive materials received

          by the undersigned counsel of record from COPA and/or CPD relating to this case have been

          produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

               2. Any and all oral statements made by the Respondent concerning the charges filed
                  which have been reduced to writing or summaries of which have been reduced to
                  writing which are within the custody and control of the Chicago Police Department,
                  the Bureau of Internal Affairs, the Civilian Office of Police Accountability (formerly
                  I.P.R.A.), the Cook County State's Attorney's Office, the Corporation Counsel's
                  Office and Special Assistant Corporation Counsel,if any.

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          ACTIVE 57560950v4




17-cv-06260                                                                                          MONITOR00237254
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          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record from COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              3. Any and all oral statements of the Respondent concerning the charges filed which
                 have been in any way mechanically recorded and which are within the custody and
                 control ofthe Chicago Police Department,the Bureau ofInternal Affairs,the Civilian
                 Office of Police Accountability (formerly I.P.R.A.), the Cook County State's
                 Attorney's Office, the Corporation Counsel's Office and Special Assistant
                 Corporation Counsel,if any.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record from COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              4. Any and all recorded statements, written statements or written summaries of oral
                 statements of any witness to be produced by the City and the Superintendent in the
                 prosecution's case-in chief at the hearing of said charges and any other persons
                 unknown to Respondent at this time that were interviewed by any investigators or
                 prosecutors in this case.

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.0 and the requirements of Rules III and II.J relating to identification of

          witnesses and exhibits. The Superintendent further objects to the extent the request seeks
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          ACTIVE 57560950v4




17-cv-06260                                                                                          MON ITOR00237255
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 61 of 80 PageID #:16121




          documents protected by the attorney client privilege and/or work product doctrine. To the extent

          this request asks the Superintendent to identify witnesses he expects to call at the hearing,

          Respondent's request is premature. The Superintendent will identify his witnesses in accordance

          with Rule III and Rule II.J and any scheduling order entered by the Hearing Officer. Subject to

          and without waiving the foregoing objections, the Superintendent states that all responsive

          materials received by the undersigned counsel of record from COPA and/or CPD relating to this

          case have been produced to Respondent. Discovery is ongoing, and the Superintendent reserves

          his right to supplement this response as necessary.

              5. Results or reports of physical or mental examinations or medical examinations of
                 Terrell Eason including any toxicology reports, and reports of scientific tests or
                 experiments made in connection with this particular case which are within the
                 custody and control of the Chicago Police Department,the Bureau ofinternal Affairs,
                 the Civilian Office of Police Accountability (formerly I.P.R.A.), the Cook County
                 State's Attorney's Office, the Corporation Counsel's Office and Special Assistant
                 Corporation Counsel, if any, and the identity and reports of any expert witnesses on
                 a police officer's use of force, or treaters the City, the Superintendent and the
                 prosecution plans on calling at the hearing.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent also objects to this request as premature to the extent it calls for expert witness

          disclosures beyond the requirements of Rule 11.1. The Superintendent will make his expert witness

          disclosures, if any, in accordance with Rule III and II.J and any scheduling order entered by the

          Hearing Officer. Subject to and without waiving the foregoing objections, the Superintendent

          states that all responsive materials received by the undersigned counsel of record from COPA

          and/or CPD relating to this case have been produced to Respondent. Discovery is ongoing, and the

          Superintendent reserves his right to supplement this response as necessary.


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          ACTIVE 57560950v4




17-cv-06260                                                                                          MONITOR00237256
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              6. Any evidence within the custody or control of the Chicago Police Department, the
                 Bureau of Internal Affairs, the Civilian Office of Police Accountability (formerly
                 I.P.R.A.), the Cook County State's Attorney's Office, the Corporation Counsel's
                 Office and Special Assistant Corporation Counsel, if any, which is favorable to the
                 Respondent in terms of guilt or innocence to the charges filed against the Respondent,
                 including but not limited to:

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record from COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

                 a)Any and all unredacted written documentation, notes, memos, affidavits, emails
                 and text messages, by any witness present for any communication between the
                 Civilian Office of Police Accountability (formerly I.P.R.A.), the Cook County State's
                 Attorney's Office, the City of Chicago, Department of Law and the Superintendent
                 of Police regarding Officer David Taylor, Officer Larry Lanier and other individuals
                 in this case from July 3,2018 to the present.

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent objects to the extent this request seeks documents protected by the attorney-client

          privilege, work product doctrine, or any other applicable privilege. The Superintendent also

          objects that this request is overly broad and unduly burdensome. Subject to and without waiving

          the foregoing objections, the Superintendent states that all responsive materials received by the

          undersigned counsel of record from COPA and/or CPD relating to this case have been produced




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          ACTIVE 57560950v4




17-cv-06260                                                                                        MONITOR00237257
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          to Respondent. Discovery is ongoing, and the Superintendent reserves his right to supplement this

          response as necessary.

                 b)A complete set of the unredacted Chicago Police reports listed under RD#
                 JB334215.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. Subject to and without waiving the foregoing objections, the

          Superintendent states that all responsive materials received by the undersigned counsel of record

          from COPA and/or CPD relating to this case have been produced to Respondent. Discovery is

          ongoing, and the Superintendent reserves his right to supplement this response as necessary.

                 c)Any and all affidavits, declination to prosecute reports, video recordings of all body
                 worn cameras and dash cameras from the date of the incident, and all video
                 recordings from cell phones and surveillance cameras from the date of the incident.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record from COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

                 d)A complete copy of Officer David Taylor's personnel file with the Chicago Police
                 Department.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. Subject to and without waiving the foregoing objection, the

          Superintendent has produced documents responsive to this request.




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          ACTIVE 57560950v4




17-cv-06260                                                                                          MONITOR00237258
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 64 of 80 PageID #:16124




                 e) The complete unredacted criminal history of Terrell Eason,including his juvenile
                 history, and all Lynch material pursuant to People v. Lynch, 104 III. 2d 194,470 N.E.
                 2d 1018,83 Ill. Dec. 598(1984).

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent also objects to this request to the extent it seeks documents that are not relevant to

          this case or the Charges against the Respondent. Subject to and without waiving the foregoing

          objections, the Superintendent states that all responsive materials received by the undersigned

          counsel ofrecord from COPA and/or CPD relating to this case have been produced to Respondent.

                 )
                 I Any and all offers of leniency to any witness in this case, any benefit extended to
                 any witness in this case, and any agreements between any agency in this case and any
                 witness in exchange for their cooperation and/or testimony in this case.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent also objects to this request to the extent it seeks documents that are not relevant to

          this case or the Charges against the Respondent. Subject to and without waiving the foregoing

          objections, the Superintendent states that all materials received by the undersigned counsel of

          record from COPA and/or CPD relating to this case have been produced to Respondent.

              7. A list of witnesses the City and the Department of Police may call at the hearing, their
                 unredacted last known addresses, phone numbers, other identifying relevant
                 information including any criminal history they may have and whether there are any
                 cases pending against any of the witnesses.

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.0 and the requirements of Rules III and II.J relating to identification of

          witnesses. The Superintendent further objects to this request as premature. The Superintendent
                                                           6
          ACTIVE 57560950v4




17-cv-06260                                                                                           MONITOR00237259
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          will identify his witnesses in accordance with Rule 11.1 and II.J and any scheduling order entered

          by the Hearing Officer.


              8. A copy of the unredacted complaint register file(s), if any, and files listed under Log#
                 1090087 that pertain to this case.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. Subject to and without waiving the foregoing objections, the

          Superintendent states that he produced the Complaint Register File for Log Number 1090087 to

          Respondent on April 29, 2021.

              9. All documents, pleadings and discovery, including but not limited to deposition
                 transcripts from 1: 1 8-cv-05362.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent objects that this request is overly broad and unduly burdensome. The

          Superintendent further objects to the extent this request seeks documents and information that are

          publicly available and/or equally available to Respondent. The Superintendent also objects to the

          extent this request seeks documents protected by the attorney-client privilege, work product

          doctrine, or any other applicable privilege. Subject to and without waiving the foregoing

          objections, the Superintendent has produced responsive documents, including all deposition

          transcripts and sworn interrogatory answers by parties to the referenced litigation, received by the

          undersigned counsel of record. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              10. Any and all recordings, photographs or video tapes, and exhibits which the City, the
                  Superintendent and the prosecution have in their possession, whether they plan on
                  introducing them into evidence at the hearing or not.
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          ACTIVE 57560950v4




17-cv-06260                                                                                          MONITOR00237260
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 66 of 80 PageID #:16126




          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent further objects to this request to the extent it seeks documents that are not relevant

          to this case or the Charges against Respondent. To the extent this request seeks for the

          Superintendent to identify exhibits he will introduce at the hearing, Respondent's request is

          premature. The Superintendent will identify exhibits to be introduced at the hearing in accordance

          with Rule II.J and any scheduling order that is entered by the Hearing Officer. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record from COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              1 1. Any and all police reports, GPRs, notes, memorandum, inventory reports, search
                   warrants and documents prepared by any and all agencies in this case, including but
                   not limited to the Chicago Police Department, the Bureau of Internal Affairs, the
                   Civilian Office of Police Accountability (formerly I.P.R.A.), the Cook County State's
                   Attorney's Office, the Corporation Counsel's Office and Special Assistant
                   Corporation Counsel,if any.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent further objects to this request to the extent it seeks documents that are not relevant

          to this case or the Charges against Respondent. Subject to and without waiving the foregoing

          objections, the Superintendent states that all responsive materials received by the undersigned

          counsel ofrecord from COPA and/or CPD relating to this case have been produced to Respondent.


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          ACTIVE 57560950v4




17-cv-06260                                                                                           MONITOR00237261
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          Discovery is ongoing, and the Superintendent reserves his right to supplement this response as

          necessary.

                 The Superintendent reserves the right to supplement and/or amend these Responses and

          Objections as needed during the pendency of the instant matter before the Chicago Police Board.


          Respectfully Submitted on May 20, 2021,




                                                             Elizabeth S. Ralph
                                                             Julia D. Riedel Emfinger
                                                             Christine Dulaney
                                                             Special Assistant Corporation Counsel
                                                             GREENBERG TRAURTG,LLP
                                                             77 West Wacker Drive, Suite 3100
                                                             Chicago, IL 60601
                                                             Tel.(312)456-8400
                                                             Fax.(312)456-8435




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          ACTIVE 57560950v4




17-cv-06260                                                                                      MONITOR00237262
         Case: 1:17-cv-06260 Document #: 1018-24 Filed: 04/08/22 Page 68 of 80 PageID #:16128




                                     BEFORE THE POLICE BOARD OF
                                        THE CITY OF CHICAGO
          IN THE MATTER OF                           )
          CHARGES AGAINST                            )
                                                     )              Case No. 21 PB 2990
          OFFICER DAVID TAYLOR and                   )
          OFFICE LARRY LANIER,                       )
                    Respondents.                     )

                                                NOTICE OF FILING
          PLEASE TAKE NOTICE that on this day I have caused to be filed with the Police Board of the
          City of Chicago the Superintendent's Responses and Objections to Respondent Taylor's
          Motion for Discovery.

                                         CERTIFICATE OF SERVICE
                 I hereby certify that I have on this day caused a true and correct copy of the above and
          foregoing to be served via email on the individuals listed below.

          TO:
                 James P. McKay, Jr.                                Timothy M. Grace
                 Tomasik Kotin Kasserman                            James E. Thompson
                 161 N. Clark St., Suite 3050                       Robert Ryan Arroyo
                 Chicago, IL 60601                                  Grace & Thompson
                 jpmckaylaw@gmail.corn                              311 W. Superior St., Ste. 215
                                                                    Chicago, IL 60654
                                                                    Fax:(312)943-0600
                                                                    Email: connorgracegaol.com
                                                                           Jthompson@ggtlegal.com
                                                                           robarroyogggtlegal.com

          Dated: May 20, 2021                        Respectfully submitted,



                                                     Elizabeth S. Ralph
                                                     Julia D. Reidel Emfinger
                                                     Christine Dulaney
                                                     Special Assistant Corporation Counsel
                                                     GREENBERG TRAURTG,LLP
                                                     77 West Wacker Drive, Suite 3100
                                                     Chicago, IL 60601
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                                                     Fax.(312)456-8435

                                                         10
          ACTIVE 57560950v4




17-cv-06260                                                                                      MONITOR00237263
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                               BEFORE THE POLICE BOARD OF
                                  THE CITY OF CHICAGO
          IN THE MATTER OF               )
          CHARGES AGAINST                )
                                         )         Case No. 21 PB 2990
          OFFICER DAVID TAYLOR and       )
          OFFICE LARRY LANIER,           )
                    Respondents.         )

                 SUPERINTENDENT'S RESPONSE TO RESPONDENT LARRY LANIER'S
                            DISCOVERY PRODUCTION REQUESTS

                 David Brown, Superintendent of the Chicago Police Department, by and through by his

          attorney Celia Mem., Acting Corporation Counsel of the City of Chicago, and for his Responses

          and Objections to Respondent Larry Lanier's Discovery Production Requests, states as follows:

              1. Any and all written statements made by the Respondent concerning the charges tiled,
                 which are within the custody and control of the Department of Police or any
                 independent investigating agency that conducted the Complaint Register
                 investigation pertaining to the charges filed against the Respondent,including but not
                 limited to the Civilian Office of Police Accountability, the Office of the Inspector
                 General, etc.

          RESPONSE: The Superintendent states that all responsive materials received by the undersigned

          counsel ofrecord from the Civilian Office ofPolice Accountability("COPA")and/or the Chicago

          Police Department ("CPD") have been produced to Respondent. Discovery is ongoing, and the

          Superintendent reserves his right to supplement this response as necessary

              2. Any and all oral statements made by the Respondent concerning the charges filed
                 which have been reduced to writing or summaries of which that have been reduced
                 in writing which are within the custody and control of the Department of Police or
                 any independent investigating agency.

          RESPONSE: The Superintendent states that all responsive materials received by the undersigned

          counsel of record from COPA and/or CPD have been produced to Respondent. Discovery is

          ongoing, and the Superintendent reserves his right to supplement this response as necessary



                                                         1
          ACTIVE 57666835v1




17-cv-06260                                                                                       MONITOR00237264
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              3. Any and all oral statements of the Respondent concerning the charges filed which
                 have been in any way mechanically recorded and which are within the custody and
                 control of the Department of Police or any independent investigating agency.

          RESPONSE: The Superintendent states that all responsive materials received by the undersigned

          counsel of record from COPA and/or CPD have been produced to Respondent. Discovery is

          ongoing, and the Superintendent reserves his right to supplement this response as necessary

              4. Any and all written statements, recorded statements in their native format,
                 transcripts of statements including but not limited to deposition transcripts and trial
                 transcripts, or written summaries of statements made by Respondent, any and all
                 witnesses, or persons purporting to be witnesses concerning the charges tiled and/or
                 the events giving rise thereto within the custody and control of the Department of
                 Police, Civilian Office of Police Accountability,Independent Police Review Authority
                 or any other known divisions or department ofthe City of Chicago.For any requested
                 statement known by the Superintendent of Police to exist but which is not within the
                 custody or control of any of the aforementioned entities please provide the contact
                 information for the person(s)or entitle(s) believed to be in custody and control of said
                 statements.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Police Board Rule of Procedure ("Rule") II.C. The Superintendent further

          objects to the extent this request seeks documents that are not in the possession, custody, or control

          of COPA and/or CPD. The Superintendent also objects to the extent this request seeks documents

          protected by the attorney-client privilege, work product doctrine, or any other applicable privilege.

          Subject to and without waiving these objections, the Superintendent states that all responsive

          materials received by the undersigned counsel of record from COPA and/or CPD have been

          produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              5. Results and reports of physical and/or mental examinations, scientific tests,
                 reconstructions or experiments made in connection with the particular case at issue
                 which are within the custody and control of the Department of Police, Civilian Office
                 of Police Accountability, Independent Police Review Authority or any other known
                 division or department of the City of Chicago. For any requested document known
                 by the Superintendent of Police to exist but which is not within the custody or control

                                                            2
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17-cv-06260                                                                                            MONITOR00237265
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                  of any aforementioned entities please provide the contact information for person(s)
                  or entity(s) believed to be in custody and control of said documents.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record from COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              6. Any and all evidence including but not limited to expert opinion within the custody
                 or control of the Department of Police, Civilian Office of Police Accountability,
                 Independent Police Review Authority or any other known division or department of
                 the City of Chicago which is favorable to the Respondent in terms of guilt or
                 innocence to the charges filed against the Respondent.

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.0 and the requirements of Rules 11.1 and II.J relating to identification of

          witnesses. The Superintendent further objects to the extent this request seeks documents that are

          not in the possession, custody, or control ofCOPA and/or CPD. The Superintendent further objects

          to this request as premature. The Superintendent will identify his witnesses in accordance with

          Rules. 11.1 and II.J and any scheduling order entered by the Hearing Officer. Subject to and without

          waiving the foregoing objections, the Superintendent states that all responsive materials received

          by the undersigned counsel of record from COPA and/or CPD relating to this case have been

          produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              7. A true and complete copy of the complaint register and/or log file created and
                 maintained by the Chicago Police Department regarding this investigation.


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          ACTIVE 57666835v1




17-cv-06260                                                                                          MONITOR00237266
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          RESPONSE: The Superintendent states he produced the Complaint Register File for Log

          Number 1090087 to Respondent on April 29, 2021.

              8. Any and all documents, photographs, videos, reports, emails, correspondence,
                 diagrams or other depictions regardless ofform which depict or otherwise purport to
                 illustrate the scene of the occurrence giving rise to the charges against Respondent or
                 the parties or witnesses involved within the custody or control of the Department of
                 Police, Civilian Office of Police Accountability,Independent Police Review Authority
                 or any other known division or department of the City of Chicago. For any requested
                 document known by the Superintendent of Police to exist but which is not within the
                 custody of any of the aforementioned entities please provide the contact information
                 for the person(s) or entity(s) believed to be in custody and control of said documents.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. Subject to and

          without waiving the foregoing objections, the Superintendent states that all responsive materials

          received by the undersigned counsel of record for COPA and/or CPD relating to this case have

          been produced to Respondent. Discovery is ongoing, and the Superintendent reserves his right to

          supplement this response as necessary.

              9. A true and complete copy of Respondent Office Larry Lanier's complete disciplinary
                 tile and complimentary and disciplinary history tile maintained by the Chicago Police
                 Department.

          RESPONSE: The Superintendent states that responsive materials to this request were produced

          to all Parties on April 26, 2021 as to Respondent's request for his complimentary and disciplinary

          histories. The Superintendent further states that he has requested access to and produced a copy of

          Respondent's disciplinary file in accordance with Rule II.D and Appendix A of the Police Board's

          Rules of Procedure.

              10. A copy of any and all Chicago Police Department orders or Illinois Statutes intended
                  to be used during the hearing in this matter.



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17-cv-06260                                                                                          MONITOR00237267
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          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects that Respondent's request is

          premature. The Superintendent will identify exhibits to be used during the hearing in this matter

          pursuant to Rule II.J and any scheduling order that is entered by the Hearing Officer. Subject to

          and without waiving the foregoing objections, the Superintendent has produced responsive

          materials received by the undersigned counsel of record for COPA and/or CPD. Discovery is

          ongoing, and the Superintendent reserves his right to supplement this response as necessary.

              11. A list of witnesses and the subject matter of their testimony, the conclusions and
                  opinions of each witness and the qualifications of each witness.

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.0 and the requirements of Rules 11.1 and II.J relating to identification of

          witnesses. The Superintendent further objects to this request as premature. The Superintendent

          will identify his witnesses in accordance with Rule 11.1 and II.J and any scheduling order entered

          by the Hearing Officer.

              12. Any and all news media,social media or related reports relating to the charges against
                 Respondent or the underlying occurrence giving rise to the charges filed against the
                 Respondent within the custody or control of the Department of Police, Civilian Office
                  of Police Accountability, Independent Police Review Authority or any other known
                  division or department of the City of Chicago. For any requested document known
                  by the Superintendent of Police to exist but which is not within the custody or control
                  of any of the aforementioned entities please provide the contact information for the
                  person(s) or entity(s) believed to be in custody and control of said documents.

          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent further objects to this request to the extent it seeks documents that are not relevant

          to this case or the Charges against the Respondent. The Superintendent further objects to the extent


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17-cv-06260                                                                                           MONITOR00237268
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          this request seeks documents and information that are publicly available and/or equally available

          to Respondent. Subject to and without waiving the foregoing objections, the Superintendent states

          that all responsive materials received by the undersigned counsel of record from COPA and/or

          CPD relating to this case have been produced to the Respondent. Discovery is ongoing, and the

          Superintendent reserves his right to supplement this response as necessary.

              13. A complete list of all agencies known to have conducted some form of investigation
                  relating to the charges alleged together with all documents produced or exchanged
                  relating to the occurrence giving rise to the charges and all correspondence within the
                  possession and control of the Department of Police, the City of Chicago and all
                  associated entries. Please be advised this request includes but is not limited to the
                 Independent Police Review Authority, Civilian Office of Police Accountability,
                  Department of Police, Office of the Cook County State's Attorney, Cook County
                  Medical Examiner, Illinois State Police Crime Lab and/or Forensic Section, and the
                 Illinois State's Attorneys Appellate Prosecutor's Office.

          RESPONSE: The Superintendent objects to this request because it exceeds the scope of discovery

          required by Rule II.C. The Superintendent further objects to the extent this request seeks

          documents that are not in the possession, custody, or control of COPA and/or CPD. The

          Superintendent objects that the request is vague, overly broad, and unduly burdensome. The

          Superintendent further objects to the extent the request seeks documents that are protected by the

          attorney-client privilege, work product doctrine, or any other applicable privilege. The

          Superintendent further objects to this request to the extent it seeks documents that are not relevant

          to this case or the Charges against the Respondent.

              14. Based on reasonable information and belief an investigation was conducted by the
                  Office of the Cook County State's Attorney and at the request of the Cook County
                  State's Attorney Kim Foxx, the Illinois State's Attorneys Appellate Prosecutor's
                  Office in which both found the Respondent's use offorce justified. Please provide any
                  and all documents,including but not limited to correspondence, memorandums,notes
                  reduced to writing, audio, video or photographs exchanged, provided and/or
                  otherwise disclosed regarding the above-mentioned investigation together with all
                  contact information relative to said investigations.



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17-cv-06260                                                                                           MONITOR00237269
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          RESPONSE: The Superintendent objects to this request to the extent it exceeds the scope of

          discovery required by Rule II.C. The Superintendent further objects to this request to the extent it

          seeks documents that are not relevant to this case or the Charges against the Respondent. The

          Superintendent objects to the extent this request seeks documents that are not in the possession,

          custody, or control ofCOPA and/or CPD. The Superintendent also objects to the extent the request

          seeks documents that are protected by the attorney-client privilege, work product doctrine, or any

          other applicable privilege.

                  The Superintendent reserves the right to supplement and/or amend these Responses and

          Objections as needed during the pendency of the instant matter before the Chicago Police Board.




          Respectfully Submitted on May 20, 2021,




                                                               Elizabeth S. Ralph
                                                               Julia D. Riedel Emfinger
                                                               Christine Dulaney
                                                               Special Assistant Corporation Counsel
                                                               GREENBERG TRAURIG,LLP
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          ACTIVE 57666835v1




17-cv-06260                                                                                          MONITOR00237270
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                               BEFORE THE POLICE BOARD OF
                                  THE CITY OF CHICAGO
          IN THE MATTER OF               )
          CHARGES AGAINST                )
                                         )         Case No. 21 PB 2990
          OFFICER DAVID TAYLOR and       )
          OFFICE LARRY LANIER,           )
                    Respondents.         )

                                              NOTICE OF FILING

          PLEASE TAKE NOTICE that on this day I have caused to be filed with the Police Board of the
          City of Chicago the Superintendent's Responses and Objections to Respondent Lanier's
          Discovery Production Requests.

                                         CERTIFICATE OF SERVICE

                 I hereby certify that I have on this day caused a true and correct copy of the above and
          foregoing to be served via email on the individuals listed below.

          TO:
                 Timothy M. Grace
                 James E. Thompson
                 Robert Ryan Arroyo
                 Grace & Thompson
                 311 W. Superior St., Ste. 215
                 Chicago, IL 60654
                 Email: connorgrace@aol.com
                        Jthompson@ggtlegal.com
                        robarroyo@ggtlegal.com

          Dated: May 20, 2021                         Respectfully submitted,



                                                     Elizabeth S. Ralph
                                                     Julia D. Reidel Emfinger
                                                     Christine Dulaney
                                                     Special Assistant Corporation Counsel
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          ACTIVE 57666835v1




17-cv-06260                                                                                      MONITOR00237271
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                         CHARGES AGAINST POLICE OFFICER MELVINA BOGARD
              Police Officer Melvina Bogard, Star Number 3018, is charged with violating the following rules
       contained in Article V of the Rules and Regulations of the Chicago Police Department ("Department"),
       which were in full force and effect on the date of the alleged violations:

              Rule 2:       Any action or conduct which impedes the Department's efforts to achieve
                            its policy and goals or brings discredit upon the Department.

              Rule 3:       Any failure to promote the Department's efforts to implement its policy or
                            accomplish its goals.

              Rule 6:       Disobedience of an order or directive, whether written or oral.

              Rule 7:       Insubordination or disrespect toward a supervisory member on or off duty.

              Rule 8:       Disrespect to or maltreatment of any person, while on or off duty.

              Rule 9        Engaging in any unjustified verbal or physical altercation with any person,
                            while on or off duty.

              Rule 10:      Inattention to duty.

              Rule 11:      Incompetency or inefficiency in the performance of duty.

              Rule 38:      Unlawful or unnecessary use or display of a weapon.

              Rule 51(B):   Failure to cooperate when called to give evidence or statements by any
                            investigative branch or superior officer ofthe Chicago Police Department or
                            the Police board when the evidence or statements sought relate specifically,
                            directly and narrowly to the performance of his official duties. Ifthe member
                            properly asserts a constitutional privilege, he will be required to cooperate if
                            advised that by law any evidence or statements given by him cannot be used
                            against him in a subsequent criminal prosecution.



                                            S PECIFICATIONS

         1. On or about February 28, 2020, at approximately 4:11 p.m., at or near 521 N. State St., Chicago,
            Illinois, in the Chicago Transit Authority's ("CIA") Red Line Train Station, Police Officer
            Mclvina Bogard ("Bogard") failed to comply with Department policy regarding Taser use when
            she discharged her Taser against Ariel Roman ("Roman"). Officer Bogard thereby violated:
                 a. Rule 2, which prohibits any action or conduct which impedes the Department's efforts to
                    achieve its policy and goals or brings discredit upon the Department;




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                  b. Rule 6, which prohibits disobedience of an order or directive, whether written or oral, to
                     wit: General Order 03-02-04("Taser Use Incidents");
                  c. Rule 8, which prohibits disrespect to or maltreatment of any person, while on or off duty;
                  d. Rule 9, which prohibits engaging in any unjustified verbal or physical altercation with any
                     person, while on or off duty; and/or
                  e. Rule 11, which prohibits incompetency or inefficiency in the performance of duty.


          2. On or about February 28, 2020, at approximately 4:11 p.m., at or near 521 N. State St., Chicago,
             Illinois, in the CTA's Red Line Train Station, Officer Bogard failed to comply with Department
             policy regarding Oleoresin Capsicum ("OC") spray when she discharged her OC spray in the
             direction of Roman. Officer Bogard thereby violated:
                 a. Rule 2, which prohibits any action or conduct which impedes the Department's efforts to
                    achieve its policy and goals or brings discredit upon the Department;
                 b. Rule 6, which prohibits disobedience of an order or directive, whether written or oral, to
                    wit: General Order 03-02-05 ("Oleoresin Capsicum (0C) Devices and Other Chemical
                    Agency Use Incidents");
                 c. Rule 8, which prohibits disrespect to or maltreatment of any person, while on or off duty;
                 d. Rule 9, which prohibits engaging in any unjustified verbal or physical altercation with any
                    person, while on or off duty; and/or
                 e. Rule 11, which prohibits incompetency or inefficiency in the performance of duty.


          3. On or about February 28, 2020, at approximately 4:11 p.m., at or near 521 N. State St., Chicago,
             Illinois, in the CTA's Red Line Train Station, Officer Bogard used deadly force that was not
             necessary to prevent death or great bodily harm from an imminent threat posed to Officer Bogard
             or another person, and was not necessary to prevent an arrest from being defeated where the person
             to be arrested posed an imminent threat ofdeath or great bodily harm to Officer Bogard or another
             person unless arrested without delay, when she discharged her firearm and fired one or more shots
             in the direction of Roman striking Roman about the body. Officer Bogard thereby violated:
                 a. Rule 2, which prohibits any action or conduct which impedes the Department's efforts to
                    achieve its policy and goals or brings discredit upon the Department;
                 b. Rule 6, which prohibits disobedience of an order or directive, whether written or oral, to
                    wit: General Order 03-02("Use of Force");
                 c. Rule 8, which prohibits disrespect to or maltreatment of any person, while on or offduty;
                 d. Rule 9, which prohibits engaging in any unjustified verbal or physical altercation with any
                    person, while on or off duty; and/or
                e. Rule 38, which prohibits unlawful or unnecessary use or display of a weapon.




17-cv-06260                                                                                        MONITOR00237273
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              4. On or about February 28, 2020, at approximately 4:11 p.m., at or near 521 N. State St., Chicago,
                 Illinois, in the CTA's Red Line Train Station, Officer Bogard, without justification, fired one or
                 more shots in the direction of Roman and in the presence of bystander(s). Officer Bogard thereby
                 violated:
                     a. Rule 2, which prohibits any action or conduct which impedes the Department's efforts to
                        achieve its policy and goals or brings discredit upon the Department;
                     b. Rule 10, which prohibits inattention to duty;
                     c. Rule 11, which prohibits incompetency or inefficiency in the performance of duty; and/or
                     d. Rule 38, which prohibits unlawful or unnecessary use of display of a weapon.


          5. On or about February 28,2020,at approximately 4:11 p.m., or at or near 521 N. State St., Chicago,
             Illinois, in the CTA's Red Line Train Station, Officer Bogard failed to use de-escalation techniques
             when she attempted to stop and/or detain Roman. Officer Bogard thereby violated:
                    a. Rule 2 ,which prohibits any action or conduct which impedes the Department's efforts to
                       achieve its policy and goals or brings discredit upon the Department;
                    b. Rule 3, which prohibits any failure to promote the Department's efforts to implement its
                       policy or accomplish its goals;
                    c. Rule 6, which prohibits disobedience of an order or directive, whether written or oral, to
                       wit: General Order 03-02-01 ("Force Options").


          6. On or about June 25, 2020, at the office of the Civilian Office of Police Accountability (COPA)
             located at 1615 W. Chicago Ave., Chicago, Illinois, Lieutenant Lcvester Denham gave Officer
             Bogard a direct order to cooperate with COPA's investigation regarding Log Number 2020-988
             and, thereafter, Officer Bogard refused to answer questions regarding the matter which was the
             subject of Log Number 2020-988. Officer Bogard thereby violated:
                    a. Rule 2, which prohibits any action or conduct which impedes the Department's efforts to
                       achieve its policy and goals or brings discredit upon the Department
                    b. Rule 6, which prohibits disobedience of an order or directive, whether written or oral, to
                       wit: General Order 08-01-02(II)(A)(2)("Specific Responsibilities Regarding Allegations
                       of Misconduct");
                    c. Rule 7, which prohibits insubordination or disrespect toward a supervisory member on or
                       off duty; and/or
                    d. Rule 51(B), which prohibits failure to cooperate when called to give evidence or statements
                       by any investigative branch or superior officer of the Chicago Police Department or the
                       Police board when the evidence or statements sought relate specifically, directly and




17-cv-06260                                                                                          MONITOR00237274
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                     narrowly to the performance of his official duties. If the member properly asserts a
                     constitutional privilege, he will be required to cooperate if advised that by law any evidence
                     or statements given by him cannot be used against him in a subsequent criminal
                     prosecution.



              Based on the foregoing charges and specifications, the Superintendent recommends that Police
       Officer Melvina Bogard, Star Number 3018, be discharged from the Chicago Police Department.

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        FILED: April 06,2021
        POLICE BOARD
        Case No. 21 PB 2991-1




17-cv-06260                                                                                          MONITOR00237275
